Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 1 of 98 PageID #:8




               EXHIBIT A
 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 2 of 98 PageID #:9

                                                                        Service of Process
                                                                        Transmittal
                                                                        09/07/2017
                                                                        CT Log Number 531894500
TO:     David Ball / Speedway Service of Process
        Speedway SuperAmerica, LLC
        500 Speedway Dr
        Enon, OH 45323-1056

RE:     Process Served in Illinois
FOR:    Speedway LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  CHRISTOPHER HOWE, etc., Pltf. vs. Speedway LLC, et al., Dfts.
DOCUMENT(S) SERVED:               Summonses, Attachment(s), Complaint
COURT/AGENCY:                     Cook County Circuit Court - County Department - Chancery Division, IL
                                  Case # 2017CH11992
NATURE OF ACTION:                 Defendants also breached their duties by failing to provide a publicly available
                                  retention schedule and guidelines for permanently destroying the biometric data of
                                  Plaintiff and the Class
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Chicago, IL
DATE AND HOUR OF SERVICE:         By Process Server on 09/07/2017 at 11:00
JURISDICTION SERVED :             Illinois
APPEARANCE OR ANSWER DUE:         Within 30 days after service of this Summons, not counting the day of service
ATTORNEY(S) / SENDER(S):          Andrew C. Ficzko
                                  Stephan Zouras, LLP
                                  205 N. Michigan Avenue
                                  Suite 2560
                                  Chicago, IL 60601
                                  312-233-1550
ACTION ITEMS:                     CT has retained the current log, Retain Date: 09/08/2017, Expected Purge Date:
                                  09/13/2017

                                  Image SOP

                                  Email Notification, David Ball / Speedway Service of Process
                                  SpeedwayServiceofProcess@Speedway.com

                                  Email Notification, Suzanne Gagle sgagle@MarathonPetroleum.com

                                  Email Notification, Ashley Kaltenbach arkaltenbach@marathonpetroleum.com

SIGNED:                           C T Corporation System
ADDRESS:                          208 South LaSalle Street
                                  Suite 814
                                  Chicago, IL 60604
TELEPHONE:                        312-345-4336




                                                                        Page 1 of 1 / MC
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference. This information does not
                                                                        constitute a legal opinion as to the nature of action, the
                                                                        amount of damages, the answer date, or any information
                                                                        contained in the documents themselves. Recipient is
                                                                        responsible for interpreting said documents and for taking
                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.
          Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 3 of 98 PageID #:10
Summons - Alias Summons                                                                                     (12/31/15) CCG N001


                            IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
CHRISTOPHER HOWE
                                                                  No. 2017-CH-11992
                               V.
                                                                              Defendant Address:
SPEEDWAY LLC;                                                                 SPEEDWAY LLC
MARATHON PETROLEUM COMPANY;                                                   RJA C T CORPORATION SYSTEM
KRONOS INC.                                                                   208 SO LASALLE ST.
                                                                              SUITE 814
                                                                              CHICAGO, IL 60604




                                    2 SUMMONS 0 ALIAS - SUMMONS
To each defendant:
   YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:
      RRichard J. Daley Center, 50 W. Washington, Room 802                            ,Chicago, Illinois 60602
      0District 2 - Skokie           DDistrict 3 - Rolling Meadows           DDistrict 4 - Maywood
         5600 Old Orchard Rd.           2121 Euclid 1500                        Maybrook Ave.
         Skokie, IL 60077               Rolling Meadows, IL 60008               Maywood, IL 60153
      DDistrict 5 - Bridgeview       0District 6 - Markham                   DRichard J. Daley Center
         10220 S. 76th Ave.             16501 S. Kedzie Plcwy.                  50 W. Washington, LL-01
         Bridgeview, IL 60455           Markham, IL 60428                       Chicago, IL 60602
You must file within 30 days after service of this Summons, not counting the day of service.

IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the officer:
This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so
endorsed. This Summons may not be served later than thirty (30) days after its date.

2 Atty. No.:43734                                           Witness:                 Friday, 01 Sept      4.20.11
Name: sTEPHAN ZOURAS LLP                                    /s DOROTHY BROWN          1*1
Atty. for: CHRISTOPHER HOWE                                  DOROTHY BROWN, Clerk of CbM
Address: 205 N MICHIGAN 2560                                                                                .... !!4 ..........
City/State/Zip Code: CHICAGft IL 60601                      Date of Service:                                  111t11111



                                                            (To be inserted by officer on copy left with Defendant or other person)
Telephone: (3121233-1550
Primary Email Address: aficzko@stephanzouras.com
                                                            **Service by Facsimile Transmission will be accepted at:
Secondary Email Address(es):
kbowersQstephanzouras.com
                                                            (Area Code) (Facsimile Telephone Number)




          DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                       Page 1 of 1
Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 4 of 98 PageID #:11




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                                  CASE NUMBER: 17CH11992
                                  DEFENDANT                    SERVICE INF
                                  SPEEDWAY LLC                 RM 802 R A (
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                                  CHICAGO, IL 60
                                  STE 814
                                                               ATTACHED
             Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 5 of 98 PageID #:12
 Summons - Alias Summons                                                                                    (12/31/15) CCG N001


                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
 CHRISTOPHER HOWE
                                                                 No. 2017-CH-11992
                               V.                                            Defendant Address:
SPEEDWAY LLC;                                                                SPEEDWAY LLC
MARATHON PETROLEUM COMPANY;                                                  RJA C T CORPORATION SYSTEM
KRONOS INC.                                                                  208 SO LASALLE ST.
                                                                             SUITE 814
                                                                             CHICAGO, IL 60604




                                    ID SUMMONS 0 ALIAS - SUMMONS
To each defendant:
   YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the
following location:
      ORichard J. Daley Center, 50 W. Washington, Room 802                            ,Chicago, Illinois 60602
      DDistrict 2 - Skokie           ODistrict 3 - Rolling Meadows           0District 4 - Maywood
         5600 Old Orchard Rd.           2121 Euclid 1500                        Maybrook Ave.
         Skokie, IL 60077               Rolling Meadows, IL 60008               Maywood, IL 60153
      0District 5 - Bridgeview       0District 6 - Markham                   DRichard J. Daley Center
         10220 S. 76th Ave.             16501 S. Kedzie Pkwy.                   50 W. Washington, LL-01
         Bridgeview, IL 60455           Markham, IL 60428                       Chicago, IL 60602
You must file within 30 days after service of this Summons, not counting the day of service.

IF YOU FAIL TO DO SO, A JUDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the officer:
This Summons must be returned by the officer or other person to whom it was given for service, with endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so
endorsed. This Summons may not be served later than thirty (30) days after its date.

ci Atty. No. :43734                                         Witness:                Friday, 01 Sept     /g.20.1.Z......
Name: sTEPHAN ZOURAS LLP                                    /s DOROTHY BROWN          17                                  \*
                                                                                     i0f                                   I1
Atty. for: CHRISTOPHER HOWE                                  DOROTHY BROWN, Clerk of Ctiik                                :/I =:-:Iz
                                                                                                              : .........s rle
                                                                                                      A%.c.Os.,;;;-            '
Address: 205 N MICHIGAN 2560                                                                                        ********0
City/State/Zip Code: CHICAGO, L 60601                       Date of Service:
Telephone:                                                 (To be inserted by officer on copy left with Defendant or other person)
             (312) 233-1550
Primary Email Address: aficzko@stephanzouras.com
                                                            **Service by Facsimile Transmission will be accepted at:
Secondary Email Address(es):
kbowersAstephanzouras.com
                                                            (Area Code) (Facsimile Telephone Number)




          DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                                       Page 1 of 1
Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 6 of 98 PageID #:13




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                                             CASE NUMBER: 17CH11992
                                             DEFENDANT                    SERVICE INF
                                             SPEEDWAY LLC                 RM 802 R A (
                                             208 S LASALLE ST
                                             CHICAGO, IL 60604
                                             STE 814
                                                                          ATTACHED
  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 7 of 98 PageID #:14
                                                      ELECTRONICALLY FILED
                                                         9/1/2017 12:57 PM
                                                           2017-CH-11992
                                                           CALENDAR: 10
                                                             PAGE 1 of 20
                                                        CIRCUIT COURT OF
                IN THE CIRCUIT COURT OF COOK COUNTY, WIC/tit COUNTY, ILLINOIS
                                                            NCERY DIVISION
                   COUNTY DEPARTMENT, CHANCERY DI SIONLERK DOROTHY BROWN

CHRISTOPHER HOWE, individually, and on
behalf of all others similarly situated,

                       Plaintiff,
                                                            Case No.
        V.
SPEEDWAY LLC, MARATHON                                      JURY TRIAL DEMANDED
PETROLEUM COMPANY and ICRONOS,
INC.,

       Defendants.

                                CLASS ACTION COMPLAINT

       Plaintiff CHRISTOPHER HOWE ("Plaintiff' or "Howe"), by and through his attorneys,

on behalf of himself and the Class set forth below (collectively referred to as "Plaintiffs"), brings

the following Class Action Complaint ("Complaint") pursuant to the Illinois Code of Civil

Procedure, 735 ILCS §5/2-801 and §2-802 against SPEEDWAY LLC, MARATHON

PETROLEUM COMPANY and KRONOS, INC. ("Kronos") (collectively referred to as

"Defendants" or "Speedway"), their subsidiaries and affiliates, to redress and put a stop to

Defendants' unlawful collection, use, storage, and disclosure of Plaintiffs and the proposed

Class's sensitive biometric data. Plaintiff alleges as follows upon personal knowledge as to himself

and his own acts and experiences and, as to all other matters, upon information and belief,

including investigation conducted by his attorneys.
  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 8 of 98 PageID #:15




                                 NATURE OF THE ACTION

       1.      Defendant, Speedway LLC, is based in Enon, Ohio and operates gas stations and

convenience stores in Illinois and in this Circuit. Speedway LLC is a wholly owned subsidiary of

the Marathon Petroleum Company.

       2.      Speedway uses a biometric time tracking system that requires employees to use

their fingerprint as a means of authentication. When Illinois employees begin their jobs at

Speedway, they are required to scan their fingerprint and are enrolled in the Kronos employee

database.

       3.      Although there may be benefits to using biometric time clocks in the workplace,

there are also serious risks. Unlike ID badges or time cards — which can be changed or replaced if

stolen or compromised — fingerprints are unique, permanent biometric identifiers associated with

each employee. These biometrics are biologically unique to the individual; therefore, once

compromised, the individual has no recourse and is at a heightened risk for identity theft. This

exposes employees to serious and irreversible privacy risks. For example, if a fingerprint database

is hacked, breached, or otherwise exposed, employees have no means to prevent the

misappropriation and theft of their own biometric makeup.

       4.      Recognizing the need to protect its citizens from harms like these, Illinois enacted

the Biometric Information Privacy Act ("BIPA"), 740 ILCS 14/1, et seq., specifically to regulate

the collection, use, safeguarding, handling, storage, retention, and destruction of biometric

identifiers and information.

       5.      Notwithstanding the clear and unequivocal requirements of the law, Speedway

LLC and Marathon Petroleum Company disregard their employees' statutorily protected privacy

rights and unlawfully collect, store, and use their biometric data in direct violation of BIPA.




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  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 9 of 98 PageID #:16




Specifically, Speedway LLC and Marathon Petroleum Company have violated and continue to

violate BIPA because they failed and continue to fail to:

                 a.     Inform Plaintiff or the Class in writing of the specific purpose and length of
                        time for which their fingerprints were being collected, stored, and used, as
                        required by BIPA;

                 b.     Provide a publicly available retention schedule and guidelines for
                        permanently destroying Plaintiff's and the Class's fingerprints, as required
                        by BIPA; and

                c.      Receive a written release from Plaintiff or the members of the Class to
                        collect, capture, or otherwise obtain their fingerprints, as required by BIPA.

        6.      Upon information and belief, Speedway LLC and Marathon Petroleum Company

also violate BIPA by disclosing employee fingerprint data to an out-of-state third-party vendor,

Kronos.

        7.      Like Speedway LLC and Marathon Petroleum Company, Kronos has violated and

continues to violate BIPA because it failed and continues to fail to:

             a. Inform Plaintiff or the Class in writing of the specific purpose and length of time
                for which their fingerprints were being collected, stored, and used, as required by
                BIPA;

             b. Provide a publicly available retention schedule and guidelines for permanently
                destroying Plaintiff's and the Class's fingerprints, as required by BIPA; and

             c. Receive a written release from Plaintiff or the members of the Class to collect,
                capture, or otherwise obtain their fingerprints, as required by BIPA.

       8.       Defendants had actual knowledge of BIPA as well as their acts and omissions which

violate its requirements.

       9.       Accordingly, Plaintiff, individually and on behalf of the putative Class, seeks an

Order: (1) declaring that Defendants' conduct violates BIPA; (2) requiring Defendants to cease

their unlawful conduct as alleged herein; and (3) awarding statutory damages to Plaintiff and the

proposed Class.



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                      Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 10 of 98 PageID #:17




                                                                  PARTIES

                             10.     Plaintiff Christopher Howe is a resident and citizen of the State of Illinois.

                             11.     Speedway LLC is a Delaware limited liability company with its corporate

                     headquarters located in Enon, Ohio. Speedway is registered to conduct business in Illinois with

                     the Illinois Secretary of State. Speedway conducts business in the County of Cook, the State of

                     Illinois, and the throughout the United States.

                             12.    Marathon Petroleum Company ("Marathon") is an Ohio corporation with its

                     headquarters located in Findlay, Ohio. Marathon is registered to conduct business with the Illinois

                     Secretary of State. Marathon conducts business in the County of Cook, the State of Illinois, and

                     throughout the United States. Speedway LLC is a wholly owned subsidiary of Marathon.

         cs1
                            13.     Kronos, Inc. is a Massachusetts corporation registered to do business in Illinois.
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   ifl         4;4   Kronos conducts business in Illinois by providing biometric timekeeping devices to private entities
   rs1


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              b4     in Cook County and throughout the state, including Speedway LLC and Marathon Petroleum

                     Company.

                                                      JURISDICTION AND VENUE

                            14.     This Court has jurisdiction over Defendants pursuant to 735 ILCS 5/2-209 because

                     Defendants conduct business in Illinois, are registered to conduct business in Illinois, and

                     committed the statutory violations alleged herein in Illinois.

                            15.     Venue is proper in Cook County because Defendants maintain places of business

                     in Cook County, conduct business in Cook County, and committed the statutory violations alleged

                     herein in Cook County and throughout Illinois.




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  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 11 of 98 PageID #:18




                                   FACTUAL BACKGROUND

I.      The Biometric Information Privacy Act.

        16.      In the early 2000s, major national corporations started using Chicago and other

locations in Illinois to test "new [consumer] applications of biometric-facilitated financial

transactions, including finger-scan technologies at grocery stores, gas stations, and school

cafeterias." 740 ILCS 14/5(c). Given its relative infancy, an overwhelming portion of the public

became weary of this then-growing yet unregulated technology. See 740 ILCS 14/5.

        17.      In late 2007, a biometrics company called Pay by Touch, which provided major

retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer

transactions, filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature

because suddenly there was a serious risk that millions of fingerprint records — which, like other

unique biometric identifiers, can be linked to people's sensitive financial and personal data — could

now be sold, distributed, or otherwise shared through the bankruptcy proceedings without adequate

protections for Illinois citizens. The bankruptcy also highlighted the fact that most consumers who

had used that company's fingerprint scanners were completely unaware that the scanners were not

actually transmitting fingerprint data to the retailer who deployed the scanner, hut rather to the

now-bankrupt company, and that their unique biometric identifiers could now be sold to unknown

third parties.

        18.      Recognizing the "very serious need [for] protections for the citizens of Illinois

when it [came to their] biometric information," Illinois enacted BIPA in 2008. See Illinois House

Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.




                                                 5
 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 12 of 98 PageID #:19




        19.     BIPA achieves its goal by making it unlawful for a private entity to, among other

things, "collect, capture, purchase, receive through trade, or otherwise obtain a person's or a

customer's biometric identifiers or biometric information, unless it first:

                a.      Informs the subject . . . in writing that a biometric identifier or biometric
                        information is being collected or stored;

                b.      Informs the subject ... in writing of the specific purpose and length of term
                        for which a biometric identifier or biometric information is being collected,
                        stored, and used; and

                c.      Receives a written release executed by the subject of the biometric identifier
                        or biometric information."

See 740 ILCS 14/1 5(b).

        20.     BIPA specifically applies to employees who work in the State of Illinois. BIPA

defines a "written release" specifically "in the context of employment [as] a release executed by

an employee as a condition of employment." 740 ILCS 14/10.

        21.     Biometric identifiers include retina and iris scans, voiceprints, scans of hand and

face geometry, and — most importantly here — fingerprints. See 740 ILCS 14/10. Biometric

information is separately defined to include any information based on an individual's biometric

identifier that is used to identify an individual. Id.

       22.      BIPA also establishes standards for how employers must handle Illinois citizens'

biometric identifiers and biometric information. See, e.g., 740 ILCS 14/15(c)-(d). For example,

BIPA prohibits private entities from disclosing a person's or customer's biometric identifier or

biometric information without first obtaining consent for that disclosures. See 740 ILCS

14/15(d)(1).

       23.      BIPA also prohibits selling, leasing, trading, or otherwise profiting from a person's-

biomctric identifiers or biometric information (740 ILCS 14/15(c)) and requires private entities to




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 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 13 of 98 PageID #:20




develop and comply with a written policy — made available to the public — establishing a retention

schedule and guidelines for permanently destroying biometric identifiers and biometric

information when the initial purpose for collecting such identifiers or information has been

satisfied or within three years of the individual's last interaction with the private entity, whichever

occurs first. 740 ILCS 14/15(a).

        24.    The Illinois legislature enacted BIPA due to the increasing use of biometric data in

financial and security settings, the general public's hesitation to use biometric information, and —

most significantly — the unknown ramifications of biometric technology. Biometrics are

biologically unique to the individual and, once compromised, an individual has no recourse and is

at heightened and permanent risk for identity theft.

       25.     Ultimately, BIPA is simply an informed consent statute. Its narrowly tailored

provisions place no absolute bar on the collection, sending, transmitting or communicating of

biometric data. For example, BIPA does not limit what kinds of biometric data may be collected,

sent, transmitted, or stored. Nor does BIPA limit to whom biometric data may be collected, sent,

transmitted, or stored. BIPA simply mandates that entities wishing to engage in that conduct must

put in place certain reasonable safeguards.

       Defendants Violate the Biometric Information Privacy Act.

       26.     By the time BIPA passed through the Illinois Legislature in mid-2008, many

companies who had experimented using biometric data as an authentication method stopped doing

so. That is because Pay By Touch's bankruptcy, described in Section I above, was widely

publicized and brought attention to consumer fear and apprehension over the use of their biometric

data. Despite the recognized dangers of using biometric data in the private sector, employers have

failed to follow leads in dropping it as an identification method. In fact, many employers now




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  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 14 of 98 PageID #:21




require their employees to register their biometric data, viewing it as a cost-effective method of

authentication.

       27.        Speedway failed to take note of the industry-wide shift in Illinois norms — and in

Illinois law — governing the collection and use of biometric data. As a result, Speedway continues

to collect, store, and use the biometric data of its employees in direct violation of BIPA.

       28.        Specifically, when employees are hired at one of Speedway's locations, they are

required to have their fingerprints scanned in order to enroll them in Speedway's employee

database.

       29.        Speedway uses an employee time tracking system that requires employees to use

their fingerprint as a means of authentication. Unlike a traditional timeclock, employees have to

use their fingerprints to "punch" in and out of work.

       30.        Speedway fails to inform its employees of the extent of the purposes for which it

collects their sensitive biometric data or to whom the data is disclosed, if at all.

       31.        Speedway similarly fails to provide its employees with a written, publicly available

policy identifying its retention schedule, and guidelines for permanently destroying its employees'

fingerprints when the initial purpose for collecting or obtaining their fingerprints is no longer

relevant, as required by BIPA. An employee who leaves the company, like Plaintiff here, does so

without any knowledge of when their biometric identifiers will be removed from Speedway's

databases—or if they ever will.

       32.        The Pay by Touch bankruptcy that catalyzed the passage of BIPA highlights why

conduct such as Speedway's — where employees are aware that they are providing biometric

identifiers but are not aware of to whom or the full extent of the reason they are doing so — is

dangerous. That bankruptcy spurred Illinois citizens and legislators into realizing that it is crucial




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  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 15 of 98 PageID #:22




for individuals to understand when providing biometric identifiers such as a fingerprint who

exactly is collecting their biometric data, where it will be transmitted and for what purposes, and

for how long. Defendants disregard these obligations and instead unlawfully collect, store, and

use their employees' biometric identifiers and information, without ever receiving the individual

informed written consent required by BIPA.

         33.   Speedway's employees are not told what might happen to their biometric data if

and when their local stores go out of business or, worse, if and when Speedway's entire business

folds.

         34.   Because Speedway neither publishes a BIPA-mandated data retention policy nor

discloses the purposes for its collection of biometric data, Speedway employees have no idea

whether Speedway sells, discloses, re-discloses, or otherwise disseminates their biometric data.

Nor are Plaintiff and the putative Class told to whom Speedway currently disclose their biometric

data, or what might happen to their biometric data in the event of a merger or a bankruptcy.

         35.   By and through the actions detailed above, Speedway does not only disregard the

Class' privacy rights, but Speedway also violate BIPA.

III      Plaintiff Christopher Howe's Experience

         36.   Plaintiff Christopher Howe worked for Speedway in Addison, Illinois from

September 2015 to May 2017.

         37.   As an employee, Howe was required to scan his fingerprint to enable Speedway to

use it as an authentication method to track his time.

         38.   Speedway subsequently stored Howe's fingerprint data in its database(s).

         39.   Each time Howe began and ended his workday, he was required to scan his

fingerprint.




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  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 16 of 98 PageID #:23




       40.     Howe has never been informed of the specific limited purposes (if any) or length

of time for which Speedway collected, stored, or used his fingerprint.

       41.     Howe has never been informed of any biometric data retention policy developed by

Speedway, nor has he ever been informed of whether Speedway will ever permanently delete his

fingerprint.

       42.     Howe has never been provided nor did he ever sign a written release allowing

Speedway to collect or store his fingerprints.

       43.     Howe has continuously and repeatedly been exposed to the harms and risks created

by Speedway's violations of BIPA alleged herein.

       44.     Howe suffered an invasion of a legally protected interest when Speedway secured

his personal and private biometric data at a time when Speedway had no right to do so, an invasion

of Howe's right to privacy. BIPA protects employees like Howe from this precise conduct and

Speedway had no right to secure this data absent a specific Congressional license to do so.

       45.     Howe also suffered an informational injury because Speedway failed to provide

him with information to which he was entitled to by statute. Through BIPA, Congress has created

a right—an employee's right to receive certain information prior to an employer securing their

highly personal and private biometric data—and an injury—not receiving this extremely critical

information.

       46.     Pursuant to 740 ILCS 14/15(b), Howe was entitled to receive certain information

prior to Speedway securing his biometric data; namely, information advising him of the specific

limited purpose(s) and length of time for which Speedway collects, stores, and uses his fingerprint;

information regarding Speedway's biometric retention policy; and, a written release allowing

Speedway to collect and store his private biometric data. By depriving Howe of this information,




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 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 17 of 98 PageID #:24




Speedway injured Howe and the putative Class he seeks to represent. Public Citizen v. US.

Department ofJustice, 491 U.S. 440, 449 (1989); Federal Election Commission v. Akins, 524 U.S.

11 (1998).

        47.    Finally, as a result of Speedway's conduct, Howe has experienced personal injury

in the form of mental anguish. For example, Howe experiences mental anguish and injury when

contemplating about what would happen to his biometric data if Speedway went bankrupt, whether

Speedway will ever delete his biometric information, and whether (and to whom) Speedway shares

his biometric information.

       48.     Howe seeks statutory damages under BIPA as compensation for the injuries

Speedway has caused.

                                     CLASS ALLEGATIONS

       49.     Pursuant to 735 ILCS 5/2-801 and §2-802, Named Plaintiff brings claims on his

own behalf and as a representative of all other similarly-situated individuals pursuant to BIPA,

740 ILCS 14/1, et seq., seeking injunctive relief as well as statutory penalties, prejudgment interest,

attorneys' fees and costs, and other damages owed.

       50.     As discussed supra, Section 14/15(b) of BIPA prohibits a private entity from,

among other things, collecting, capturing, purchasing, receiving through trade, or otherwise

obtaining a person's or a customer's biometric identifiers or biometric information, unless it first

(I) informs the individual in writing that a biometric identifier or biometric information is being

collected or stored; (2) informs the individual in writing of the specific purpose and length of time

for which a biometric identifier or biometric information is being collected, stored, and used; and

(3) receives a written release executed by the subject of the biometric identifier or biometric

information. 740 ILCS 14/15.




                                                 11
 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 18 of 98 PageID #:25




        51.    Plaintiff seeks class certification for the following class of similarly-situated

employees under BIPA:

        All individuals who worked for Defendants in the State of Illinois who had their
        fingerprints collected, captured, received, otherwise obtained, or disclosed by the
        Defendants during the applicable statutory period.

        52.    This action is properly maintainable as a class action under §2-801 because:

               A.      The class is so numerous that joinder of all members is impracticable;

               B.      There are questions of law or fact that are common to the class;

               C.      The claims of the Named Plaintiff are typical of the claims of the class;
                       and,

               D.      The Named Plaintiff will fairly and adequately protect the interests of the
                       class.

                                            Numerositv

        53.    The exact number of Class members is unknown to Plaintiff at this time, but it is

clear that individual joinder is impracticable. Speedway has collected, captured, received, or

otherwise obtained biometric identifiers or biometric information from hundreds or more

employees who fall into the definition of the Class. The exact number of class members may

easily be determined from Speedway's payroll records.

                                          Commonality

       54.     There is a well-defined commonality of interest in the substantial questions of law

and fact concerning and affecting the Class in that Named Plaintiff and all members of the Class

have been harmed by Speedway's failure to comply with BIPA. The common questions of law

and fact include, but not limited to the following:

               A.      Whether Speedway collected, captured or otherwise obtained biometric
                       identifiers or biometric information of Plaintiff and the Class;

               B.      Whether Speedway informed Plaintiff and the Class of its purposes for


                                                 12
  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 19 of 98 PageID #:26




                       collecting, using, and storing their biometric identifiers or biometric
                       information as required by BIPA;

               C.      Whether Speedway obtained a written release (as defined in 740 ILCS
                       1 4/10) to collect, use, and store the biometric identifiers or biometric
                       information of Plaintiff and the Class;

               D.      Whether Speedway has disclosed or re-disclosed the biometric identifiers
                       or biometric information of Plaintiff and the Class;

               E.      Whether Speedway has sold, leased, traded, or otherwise profited from the
                       biometric identifiers or biometric information of Plaintiff and the Class;

               F.     Whether Speedway developed a written policy, made available to the
                      public, establishing a retention schedule and guidelines for permanently
                      destroying biometric identifiers and biometric information when the initial
                      purpose for collecting or obtaining such identifiers or information has been
                      satisfied or within three years of their last interaction, whichever occurs
                      first;

               G.     Whether Speedway comply with any such written policy (if one exists);

               H.     Whether Speedway used fingerprints of Plaintiff and the Class to identify
                      them;

               I.     Whether Speedway's violations of BIPA were committed negligently; and

               J.     Whether Speedway's violations of BIPA were committed willfully.

       55.     Plaintiff anticipates that Speedway will raise defenses that are common to the class.

                                            Adequacy

       56.     The Named Plaintiff will fairly and adequately protect the interests of all members

of the class, and there are no known conflicts of interest between Named Plaintiff and class

members. Plaintiff, moreover, has retained experienced counsel that are competent in the

prosecution of complex litigation and who have extensive experience acting as class counsel.

                                           Typicality

       57.    The claims asserted by the Named Plaintiff are typical of the class members he

seeks to represent. The Named Plaintiff has the same interests and suffers from the same unlawful



                                                13
  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 20 of 98 PageID #:27




practices as the class members.

        58.     Upon information and belief, there are no other class members who have an interest

individually controlling the prosecution of his or her individual claims, especially in light of the

relatively small value of each claim and the difficulties involved in bringing individual litigation

against one's employer.

                                  Predominance and Superiority

        59.     The common questions identified above predominate over any individual issues,

which will relate solely to the quantum of relief due to individual class members. A class action is

superior to other available means for the fair and efficient adjudication of this controversy because

individual joinder of the parties is impracticable. Class action treatment will allow a large number

of similarly-situated persons to prosecute their common claims in a single forum simultaneously,

efficiently and without the unnecessary duplication of effort and expense if these claims were

brought individually. Moreover, as the damages suffered by each class member are relatively

small in the sense pertinent to class action analysis, the expenses and burden of individual litigation

would make it difficult for individual class members to vindicate their claims.

       60.     On the other hand, important public interests will be served by addressing the

matter as a class action. The cost to the court system and the public for the adjudication of

individual litigation and claims would be substantially more than if claims are treated as a class

action. Prosecution of separate actions by individual class members would create a risk of

inconsistent and varying adjudications, establish incompatible standards of conduct for Defendants

and/or substantially impair or impede the ability of class members to protect their interests. The

issues in this action can be decided by means of common, class-wide proof. In addition, if




                                                 14
  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 21 of 98 PageID #:28




appropriate, the Court can and is empowered to, fashion methods to efficiently manage this action

as a class action.

                                  FIRST CAUSE OF ACTION
                                Violation of 740 ILCS 14/1, et seq.
                              (On Behalf of Plaintiff and the Class)

        61.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        62.     BIPA requires private entities to obtain informed written consent from consumers

before acquiring their biometric data. Specifically, BIPA makes it unlawful for any private entity

to "collect, capture, purchase, receive through trade, or otherwise obtain a person's or a customer's

biometric identifiers or biometric information unless [the entity] first: (1) informs the subject.. .in

writing that a biometric identifier or biometric information is being collected or stored; (2) informs

the subject.. .in writing of the specific purpose and length of term for which a biometric identifier

or biometric information is being collected, stored, and used; and (3) receives a written release

executed by the subject of the biometric identifier or biometric information...." 740 ILCS 1 4/1 5(b)

(emphasis added).

       63.     BIPA also prohibits private entities from disclosing a person's or customer's

biometric identifier or biometric information without first obtaining consent for that disclosure.

See 740 ILCS 14/15(d)(1).

       64.     BIPA also mandates that private entities in possession of biometric data establish

and maintain a satisfactory biometric data retention — and, importantly, deletion — policy.

Specifically, those entities must: (i) make publicly available a written policy establishing a

retention schedule and guidelines for permanent deletion of biometric data (at most three years

after the entity's last interaction with the customer); and (ii) actually adhere to that retention

schedule and actually delete the biometric information. See 740 ILCS 14/15(a).




                                                 15
 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 22 of 98 PageID #:29




        65.    Defendants fail to comply with these BIPA mandates.

        66.    Defendant Speedway LLC is a Delaware limited liability company registered to do

business in Illinois and thus qualifies as a "public entity" under BIPA. See 740 ILCS 14/10.

       67.     Defendant Marathon is an Ohio corporation registered to do business in Illinois and

thus qualifies as a "public entity" under BIPA. See 740 ILCS 14/10.

       68.     Defendant Kronos, Inc. is a Massachusetts corporation registered to do business in

Illinois and thus qualifies as a "public entity" under BIPA. See 740 ILCS 14/10.

       69.     Plaintiff and the Class are individuals who had their "biometric identifiers"

collected by Defendants (in the form of their fingerprints), as explained in detail in Sections II and

III, supra. See 740 ILCS 14/10.

       70.     Plaintiff's and the Class's biometric identifiers were used to identify them and,

therefore, constitute "biometric information" as defined by BIPA. See 740 TIES 14/10.

       71.     Defendants systematically and automatically collected, used, stored, and disclosed

Plaintiff's and the Class's biometric identifiers or biometric information without first obtaining the

written release required by 740 ILCS 14/15(b)(3).

       72.     Upon information and belief, Speedway LLC and Marathon Petroleum Company

systematically disclosed Plaintiff's and the Class's biometric identifiers and biometric information

to an out-of-state third-party vendor, Kronos.

       73.     Defendants did not properly inform Plaintiff or the Class in writing that their

biometric identifiers or biometric information were being collected and stored, nor did it inform

them in writing of the specific purpose and length of term for which their biometric identifiers or

biometric information was being collected, stored, and used as required by 740 ILCS 14/15(b)(1)-

(2).




                                                 16
                  Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 23 of 98 PageID #:30




                         74.     Defendants do not provide a publicly available retention schedule or guidelines for

                 permanently destroying its employees' biometric identifiers and biometric information as specified

                 by BIPA. See 740 ILCS 14/15(a).

                         75.     By negligently, recklessly or willfully collecting, storing, and using Plaintiffs and

                 the Class's biometric identifiers and biometric information as described herein, Defendants

                 violated Plaintiff's and the Class's rights to privacy in their biometric identifiers or biometric

                 information as set forth in BIPA. See 740 ILCS 14/1, et seq.

                         76.     On behalf of himself and the Class, Plaintiff seeks: (1) declaratory relief; (2)

                 injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class by

                 requiring Defendants to comply with BIPA's requirements for the collection, storage, and use of
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                 biometric identifiers and biometric information as described herein; (3) statutory damages of
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      esi   r,
                 $5,000 for each willful and/or reckless violation of BIPA or, in the alternative, statutory damages
   ci)
oRtzic,          of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS 14/20(1); and (4) reasonable

                 attorneys' fees and costs and other litigation expenses pursuant to 740 ILCS 14/20(3).

                                                 SECOND CAUSE OF ACTION
                                                           Negligence
                                               (On Behalf of Plaintiff and the Class)

                         77.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

                         78.    Defendants owed Plaintiff and the Class a duty of reasonable care. That duty

                 required that Defendants exercise reasonable care in the collection and use of the biometric data

                 of Plaintiff and the Class.

                         79.    Additionally, Defendants owed Plaintiff and the Class a heightened duty — under

                 which Defendants assumed a duty to act carefully and not put Plaintiff and the Class at undue risk

                 of harm — because of the employment relationship of the parties.




                                                                  17
                    Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 24 of 98 PageID #:31




                           80.    Defendants breached their duties by failing to implement reasonable procedural

                   safeguards in connection with their collection and use of the biometric identifiers and biometric

                   information of Plaintiff and the Class.

                           81.    Specifically, Defendants breached their duties by failing to properly inform

                   Plaintiff and the Class in writing of the specific purpose or length for which their fingerprints were

                   being collected, stored, and used.

                           82.    Defendants also breached their duties by failing to provide a publicly available

                   retention schedule and guidelines for permanently destroying the biometric data of Plaintiff and

                   the Class.

                          83.     Defendants' breach of their duties proximately caused and continues to cause an
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                   invasion of privacy to Plaintiff and the Class, as well as informational injury to them.
,-1NONts,
       0                  84.     Accordingly, Plaintiff seeks an order declaring that Defendants' conduct constitutes
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      o
      rsi (.7      negligence and awarding Plaintiff and the Class damages in an amount to be calculated at trial.
u
                                                        PRAYER FOR RELIEF
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                          Wherefore, Plaintiff Christopher Howe, on behalf of himself, individually, and on behalf

                   of the Class, respectfully requests that this Court enter an Order:

                          A.      Certifying this case as a class action on behalf of the Class defined above,

                   appointing Plaintiff Christopher Howe as Class Representative, and appointing Stephan Zouras,

                   LLP, as Class Counsel;

                          B.      Declaring that Defendants' actions, as set forth above, violate BIPA;

                          C.      Awarding statutory damages of $5,000 for each willful and/or reckless violation of

                   BIPA or, in the alternative, statutory damages of $1,000 for each negligent violation of BIPA

                   pursuant to 740 1LCS 14/20(1);




                                                                    18
 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 25 of 98 PageID #:32




       D.        Declaring that Defendants' actions, as forth out above, constitute negligence;

       E.        Declaring that Defendants' actions, as set forth above, were willful;

       F.        Awarding injunctive and other equitable relief as is necessary to protect the

interests of Plaintiff and the Class, including an Order requiring Defendants to collect, store, and

use biometric identifiers or biometric information in compliance with BIPA;

       G.        Awarding Plaintiff and the Class their reasonable attorneys' fees and costs and

other litigation expenses pursuant to 740 ILCS 14/20(3);

       H.        Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

allowable; and

       I.        Awarding such other and further relief as equity and justice may require.

                                           JURY TRIAL

       Plaintiff demands a trial by jury for all issues so triable.



Date: September 1, 2017                                Respectfully Submitted,

                                                       /s/ Andrew C. Ficzko
                                                       Ryan F. Stephan
                                                       James B. Zouras
                                                       Andrew C. Ficzko
                                                       Haley R. Jenkins
                                                       Stephan Zouras, LLP
                                                       205 N. Michigan Avenue
                                                       Suite 2560
                                                       Chicago, Illinois 60601
                                                       312.233.1550
                                                       312.233.1560f
                                                       Firm ID: 43734
                                                       lawyers@stephanzouras.com




                                                 19
    Case:
    Case: 1:19-cv-01374
          1:17-cv-07303 Document
                        Document #:
                                 #: 1-1 Filed: 11/09/17
                                    28 Filed:  02/25/19 Page
                                                        Page 126ofof2898PageID
                                                                         PageID#:199
                                                                                 #:33




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

CHRISTOPHER HOWE,                                                  )
individually and on behalf of all others                           )
similarly situated,                                                )
                                                                   )
                  Plaintiff,                                       ) No. 1:17-cv-07303
                                                                   )
          v.                                                       ) Hon. Andrea R. Wood
                                                                   )
SPEEDWAY LLC,                                                      ) Magistrate Judge Hon. Susan E. Cox
MARATHON PETROLEUM COMPANY, and                                    )
KRONOS, INC.,                                                      )
                                                                   )
                  Defendants.                                      )


        SPEEDWAY LLC’S AND MARATHON PETROLEUM COMPANY’S
     ANSWER AND AFFIRMATIVE DEFENSES TO CLASS ACTION COMPLAINT

          Defendants Speedway LLC (“Speedway”) and Marathon Petroleum Company

(“Marathon”), by and through their attorneys, answer Plaintiff’s Class Action Complaint as

follows:1

                                         NATURE OF THE ACTION

        1.    Defendant, Speedway LLC, is based in Enon, Ohio and operates gas stations and
convenience stores in Illinois and in this Circuit. Speedway LLC is a wholly owned subsidiary
of the Marathon Petroleum Company.

          ANSWER:          Admitted that Speedway is based in Enon, Ohio, and operates gas stations

and convenience stores in Illinois and in this Circuit. Denied that Speedway is a wholly owned

subsidiary of Marathon.



1
  In accordance with this Court’s participation in the Northern District of Illinois Mandatory Initial Discovery Pilot
Project and October 12, 2017 Order (Dkt. 13), Speedway and Marathon are filing this Answer on the same day as
their Motion to Dismiss Plaintiff’s Complaint and Memorandum in Support. In filing this Answer, neither Speedway
nor Marathon waives its right to seek dismissal of this action in its entirety for the reasons set forth in the Motion to
Dismiss, or for any other reason permitted under applicable law.



3994457
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 11/09/17
                                   28 Filed:  02/25/19 Page
                                                       Page 227ofof2898PageID
                                                                        PageID#:200
                                                                                #:34




         2.     Speedway uses a biometric time tracking system that requires employees to use
their fingerprint as a means of authentication. When Illinois employees begin their jobs at
Speedway, they are required to scan their fingerprint and are enrolled in the Kronos employee
database.

          ANSWER:      Admitted that Speedway uses finger-scanning enabled equipment to track

the number of hours worked by some of its Illinois employees. Denied that Speedway or

Marathon collect, store, or transfer biometric identifiers or biometric information. Denied that

Speedway’s employees are enrolled in a Kronos database. Except as expressly admitted, the

remaining allegations in the foregoing paragraph are denied.

        3.      Although there may be benefits to using biometric time clocks in the workplace,
there are also serious risks. Unlike ID badges or time cards – which can be changed or replaced
if stolen or compromised – fingerprints are unique, permanent biometric identifiers associated
with each employee. These biometrics are biologically unique to the individual; therefore, once
compromised, the individual has no recourse and is at a heightened risk for identity theft. This
exposes employees to serious and irreversible privacy risks. For example, if a fingerprint
database is hacked, breached, or otherwise exposed, employees have no means to prevent the
misappropriation and theft of their own biometric makeup.

          ANSWER:      Defendants lack sufficient information or knowledge to admit or deny the

allegations in this paragraph.

        4.      Recognizing the need to protect its citizens from harms like these, Illinois enacted
the Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq., specifically to regulate
the collection, use, safeguarding, handling, storage, retention, and destruction of biometric
identifiers and information.

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: admitted that BIPA is codified at 740 ILCS 14/1,

et seq. and regulates biometric identifiers and information. Except as expressly admitted, the

remaining allegations in the foregoing paragraph are denied.

        5.     Notwithstanding the clear and unequivocal requirements of the law, Speedway
LLC and Marathon Petroleum Company disregard their employees’ statutorily protected privacy
rights and unlawfully collect, store, and use their biometric data in direct violation of BIPA.
Specifically, Speedway LLC and Marathon Petroleum Company have violated and continue to
violate BIPA because they failed and continue to fail to:


                                                 2
3994457
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 11/09/17
                                   28 Filed:  02/25/19 Page
                                                       Page 328ofof2898PageID
                                                                        PageID#:201
                                                                                #:35




               a. Inform Plaintiff or the Class in writing of the specific purpose and length of
                  time for which their fingerprints were being collected, stored, and used, as
                  required by BIPA;

               b. Provide a publicly available retention schedule and guidelines for permanently
                  destroying Plaintiff’s and the Class’s fingerprints, as required by BIPA; and

               c. Receive a written release from Plaintiff or the members of the Class to collect,
                  capture, or otherwise obtain their fingerprints, as required by BIPA.

          ANSWER:      Denied.

        6.     Upon information and belief, Speedway LLC and Marathon Petroleum Company
also violate BIPA by disclosing employee fingerprint data to an out-of-state third-party vendor,
Kronos.

          ANSWER:      Denied.

       7.      Like Speedway LLC and Marathon Petroleum Company, Kronos has violated and
continues to violate BIPA because it failed and continues to fail to:

               a. Inform Plaintiff or the Class in writing of the specific purpose and length of
                  time for which their fingerprints were being collected, stored, and used, as
                  required by BIPA;

               b. Provide a publicly available retention schedule and guidelines for permanently
                  destroying Plaintiff’s and the Class’s fingerprints, as required by BIPA; and

               c. Receive a written release from Plaintiff or the members of the Class to collect,
                  capture, or otherwise obtain their fingerprints, as required by BIPA.

          ANSWER:      Denied that Speedway or Marathon have violated BIPA. Speedway and

Marathon otherwise lack sufficient information or knowledge to admit or deny the remaining

allegations in this paragraph, including in relation to Kronos, Inc.

       8.      Defendants had actual knowledge of BIPA as well as their acts and omissions
which violate its requirements.

          ANSWER:      Denied that Speedway or Marathon have violated BIPA. Speedway and

Marathon otherwise lack sufficient information or knowledge to admit or deny the remaining

allegations in this paragraph, including in relation to Kronos, Inc.

       9.      Accordingly, Plaintiff, individually and on behalf of the putative Class, seeks an
Order: (1) declaring that Defendants’ conduct violates BIPA; (2) requiring Defendants to cease

                                                  3
3994457
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 11/09/17
                                   28 Filed:  02/25/19 Page
                                                       Page 429ofof2898PageID
                                                                        PageID#:202
                                                                                #:36




their unlawful conduct as alleged herein; and (3) awarding statutory damages to Plaintiff and the
proposed Class.

          ANSWER:      Denied that Plaintiff, or any member of the putative Class, is entitled to

any of the relief requested in the Complaint.

                                             PARTIES

          10.   Plaintiff Christopher Howe is a resident and citizen of the State of Illinois.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny this allegation.

         11.     Speedway LLC is a Delaware limited liability company with its corporate
headquarters located in Enon, Ohio. Speedway is registered to conduct business in Illinois with
the Illinois Secretary of State. Speedway conducts business in the County of Cook, the State of
Illinois, and throughout the United States.

          ANSWER:      Admitted.

         12.     Marathon Petroleum Company (“Marathon”) is an Ohio corporation with its
headquarters located in Findlay, Ohio. Marathon is registered to conduct business with the
Illinois Secretary of State. Marathon conducts business in the County of Cook, the State of
Illinois, and throughout the United States. Speedway LLC is a wholly owned subsidiary of
Marathon.

          ANSWER:      Admitted that Marathon is headquartered in Ohio. Denied that Marathon is

an Ohio corporation. Denied that Speedway is a wholly owned subsidiary of Marathon. Admitted

that Marathon conducts business in Cook County and throughout the United States. Except as

expressly admitted, the remaining allegations in the foregoing paragraph are denied.

        13.    Kronos, Inc. is a Massachusetts corporation registered to do business in Illinois.
Kronos conducts business in Illinois by providing biometric timekeeping devices to private
entities in Cook County and throughout the state, including Speedway LLC and Marathon
Petroleum Company.

          ANSWER:      Admitted that Kronos, Inc. is a Massachusetts corporation registered to do

business in Illinois that provided finger-scanning enabled equipment to Speedway. Except as

expressly admitted, the remaining allegations in the foregoing paragraph are denied.



                                                  4
3994457
     Case:
     Case: 1:19-cv-01374
           1:17-cv-07303 Document
                         Document #:
                                  #: 1-1 Filed: 11/09/17
                                     28 Filed:  02/25/19 Page
                                                         Page 530ofof2898PageID
                                                                          PageID#:203
                                                                                  #:37




                                 JURISDICTION AND VENUE

       14.   This Court has jurisdiction over Defendants pursuant to 735 ILCS 5/2-209
because Defendants conduct business in Illinois, are registered to conduct business in Illinois,
and committed the statutory violations alleged herein in Illinois.

          ANSWER:      Admitted that Speedway lawfully conducts business in Illinois. Denied

that Speedway or Marathon have violated BIPA. Otherwise denied, as this case has been

removed to federal district court.

       15.     Venue is proper in Cook County because Defendants maintain places of business
in Cook County, conduct business in Cook County, and committed the statutory violations
alleged herein in Cook County and throughout Illinois.

          ANSWER:      Admitted that Speedway lawfully conducts business in Illinois. Denied

that Speedway or Marathon have violated BIPA. Otherwise denied, as this case has been

removed to federal district court.

                                     FACTUAL BACKGROUND

I.        The Biometric Information Privacy Act.

        16.      In the early 2000s, major national corporations started using Chicago and other
locations in Illinois to test “new [consumer] applications of biometric-facilitated financial
transactions, including finger-scan technologies at grocery stores, gas stations, and school
cafeterias.” 740 ILCS 14/5(c). Given its relative infancy, an overwhelming portion of the public
became weary of this then-growing yet unregulated technology. See 740 ILCS 14/5.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

        17.     In late 2007, a biometrics company called Pay by Touch, which provided major
retailers throughout the State of Illinois with fingerprint scanners to facilitate consumer
transactions, filed for bankruptcy. That bankruptcy was alarming to the Illinois Legislature
because suddenly there was a serious risk that millions of fingerprint records – which, like other
unique biometric identifiers, can be linked to people’s sensitive financial and personal data –
could now be sold, distributed, or otherwise shared through the bankruptcy proceedings without
adequate protections for Illinois citizens. The bankruptcy also highlighted the fact that most
consumers who had used that company’s fingerprint scanners were completely unaware that the
scanners were not actually transmitting fingerprint data to the retailer who deployed the scanner,
but rather to the now-bankruptcy company, and that their unique biometric identifiers could now
be sold to unknown third parties.

                                                   5
3994457
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 11/09/17
                                   28 Filed:  02/25/19 Page
                                                       Page 631ofof2898PageID
                                                                        PageID#:204
                                                                                #:38




          ANSWER:     Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

       18.    Recognizing the “very serious need [for] protections for the citizens of Illinois
when it [came to their] biometric information,” Illinois enacted BIPA in 2008. See Illinois
House Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.

          ANSWER:     The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied that the quoted language appears in 740

ILCS 14/5. Admitted that BIPA was enacted in 2008. Speedway and Marathon otherwise lack

sufficient information or knowledge to admit or deny the remaining allegations in this paragraph.

        19.     BIPA achieves its goal by making it unlawful for a private entity to, among other
things, “collect, capture, purchase, receive through trade, or otherwise obtain a person’s or a
customer’s biometric identifiers or biometric information, unless it first:

               a. Informs the subject . . . in writing that a biometric identifier or biometric
                  information is being collected or stored;

               b. Informs the subject . . . in writing of the specific purpose and length of term
                  for which a biometric identifier or biometric information is being collected,
                  stored, and used; and

               c. Receives a written release executed by the subject of the biometric identifier
                  or biometric information.”

See 740 ILCS 14/15(b).

          ANSWER:     The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: admitted that the quoted language appears in 740

ILCS 14/15(b). Speedway and Marathon otherwise lack sufficient information or knowledge to

admit or deny the remaining allegations in this paragraph.

       20.     BIPA specifically applies to employees who work in the State of Illinois. BIPA
defines a “written release” specifically “in the context of employment [as] a release executed by
an employee as a condition of employment.” 740 ILCS 14/10.

          ANSWER:     The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: admitted that the quoted language appears in 740

                                                   6
3994457
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 11/09/17
                                   28 Filed:  02/25/19 Page
                                                       Page 732ofof2898PageID
                                                                        PageID#:205
                                                                                #:39




ILCS 14/10. Speedway and Marathon otherwise lack sufficient information or knowledge to

admit or deny the remaining allegations in this paragraph.

        21.      Biometric identifiers include retina and iris scans, voiceprints, scans of hand and
face geometry, and – most importantly here – fingerprints. See 740 ILCS 14/10. Biometric
information is separately defined to include any information based on an individual’s biometric
identifier that is used to identify an individual. Id.

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: admitted that 740 ILCS 14/10 defines “biometric

identifiers” to include the following: “a retina or iris scan, fingerprint, voiceprint, or scan of hand

or face geometry.” Admitted that 740 ILCS 14/10 states, inter alia: “‘biometric information’

means any information . . . based on an individual’s biometric identifier used to identify an

individual.” Except as expressly admitted, the remaining allegations in the foregoing paragraph

are denied.

       22.     BIPA also establishes standards for how employers must handle Illinois citizens’
biometric identifiers and biometric information. See, e.g., 740 ILCS 14/15(c)-(d). For example,
BIPA prohibits private entities from disclosing a person’s or customer’s biometric identifier or
biometric information without first obtaining consent for that disclosures [sic]. See 740 ILCS
14/15(d)(1).

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: admitted that BIPA governs how a “private

entity” may use biometric identifiers or biometric information. Except as expressly admitted, the

remaining allegations in the foregoing paragraph are denied.

        23.     BIPA also prohibits selling, leasing, trading, or otherwise profiting from a
person’s biometric identifiers or biometric information (740 ILCS 14/15(c)) and requires private
entities to develop and comply with a written policy – made available to the public – establishing
a retention schedule and guidelines for permanently destroying biometric identifiers and
biometric information when the initial purpose for collecting such identifiers or information has
been satisfied or within three years of the individual’s last interaction with the private entity,
whichever occurs first. 740 ILCS 14/15(a).




                                                  7
3994457
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 11/09/17
                                   28 Filed:  02/25/19 Page
                                                       Page 833ofof2898PageID
                                                                        PageID#:206
                                                                                #:40




          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: admitted that 740 ILCS 14/15(c) states: “No

private entity in possession of a biometric identifier or biometric information may sell, lease,

trade, or otherwise profit from a person’s or a customer’s biometric identifier or biometric

information.” Admitted that 740 ILCS 14/15(a) states: “A private entity in possession of

biometric identifiers or biometric information must develop a written policy, made available to

the public, establishing a retention schedule and guidelines for permanently destroying biometric

identifiers and biometric information when the initial purpose for collecting or obtaining such

identifiers or information has been satisfied or within 3 years of the individual’s last interaction

with the private entity, whichever occurs first. Absent a valid warrant or subpoena issued by a

court of competent jurisdiction, a private entity in possession of biometric identifiers or

biometric information must comply with its established retention schedule and destruction

guidelines.” Except as expressly admitted, the remaining allegations in the foregoing paragraph

are denied.

         24.    The Illinois legislature enacted BIPA due to the increasing use of biometric data
in financial and security settings, the general public’s hesitation to use biometric information,
and – most significantly – the unknown ramifications of biometric technology. Biometrics are
biologically unique to the individual and, once compromised, an individual has no recourse and
is at heightened and permanent risk for identity theft.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

        25.     Ultimately, BIPA is simply an informed consent statute. Its narrowly tailored
provisions place no absolute bar on the collection, sending, transmitting or communicating of
biometric data. For example, BIPA does not limit what kinds of biometric data may be
collected, sent, transmitted, or stored. Nor does BIPA limit to whom biometric data may be
collected, sent, transmitted, or stored. BIPA simply mandates that entities wishing to engage in
that conduct must put in place certain reasonable safeguards.




                                                   8
3994457
      Case:
      Case: 1:19-cv-01374
            1:17-cv-07303 Document
                          Document #:
                                   #: 1-1 Filed: 11/09/17
                                      28 Filed:  02/25/19 Page
                                                          Page 934ofof2898PageID
                                                                           PageID#:207
                                                                                   #:41




          ANSWER:       The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: Speedway and Marathon lack sufficient

information or knowledge to admit or deny the allegations in this paragraph.

II.       Defendants Violate the Biometric Information Privacy Act.

        26.    By the time BIPA passed through the Illinois Legislature in mid-2008, many
companies who had experimented using biometric data as an authentication method stopped
doing so. That is because Pay By Touch’s bankruptcy, described in Section I above, was widely
publicized and brought attention to consumer fear and apprehension over the use of their
biometric data. Despite the recognized dangers of using biometric data in the private sector,
employers have failed to follow leads in dropping it as an identification method. In fact, many
employers now require their employees to register their biometric data, viewing it as a cost-
effective method of authentication.

          ANSWER:       Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

         27.    Speedway failed to take note of the industry-wide shift in Illinois norms – and in
Illinois law – governing the collection and use of biometric data. As a result, Speedway
continues to collect, store, and use the biometric data of its employees in direct violation of
BIPA.

          ANSWER:       Denied.

       28.     Specifically, when employees are hired at one of Speedway’s locations, they are
required to have their fingerprints scanned in order to enroll them in Speedway’s employee
database.

          ANSWER:       Denied that Speedway or Marathon collect, store, or transfer biometric

identifiers or biometric information. Admitted that Speedway uses finger-scanning enabled

equipment with some of its Illinois employees, and that related information is stored

electronically. Except as expressly admitted, the remaining allegations in the foregoing

paragraph are denied.

         29.    Speedway uses an employee time tracking system that requires employees to use
their fingerprint as a means of authentication. Unlike a traditional timeclock, employees have to
use their fingerprints to “punch” in and out of work.



                                                   9
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page10
                                                            35ofof28
                                                                   98PageID
                                                                      PageID#:208
                                                                             #:42




          ANSWER:       Denied that Speedway or Marathon collect, store, or transfer biometric

identifiers or biometric information. Admitted that Speedway uses finger-scanning enabled

equipment to track the number of hours worked by some of its Illinois employees. Except as

expressly admitted, the remaining allegations in the foregoing paragraph are denied.

        30.     Speedway fails to inform its employees of the extent of the purposes for which it
collects their sensitive biometric data or to whom the data is disclosed, if at all.

          ANSWER:       Denied.

        31.    Speedway similarly fails to provide its employees with a written, publicly
available policy identifying its retention schedule, and guidelines for permanently destroying its
employees’ fingerprints when the initial purpose for collecting or obtaining their fingerprints is
no longer relevant, as required by BIPA. An employee who leaves the company, like Plaintiff
here, does so without any knowledge of when their biometric identifiers will be removed from
Speedway’s databases—or if they ever will.

          ANSWER:       Denied that Speedway or Marathon collect, store, or transfer biometric

identifiers or biometric information. Admitted that Speedway uses finger-scanning enabled

equipment with some of its Illinois employees, and that the results are electronically stored.

Denied that Speedway does not have a policy relating to its finger-scanning enabled equipment.

Speedway and Marathon lack sufficient information or knowledge to admit or deny the

remaining allegations in this paragraph regarding what employees who leave Speedway have or

lack “knowledge of.” Except as expressly admitted, the remaining allegations in the foregoing

paragraph are denied.

        32.     The Pay By Touch bankruptcy that catalyzed the passage of BIPA highlights why
conduct such as Speedway’s – where employees are aware that they are providing biometric
identifiers but are not aware of to whom or the full extent of the reason they are doing so – is
dangerous. That bankruptcy spurred Illinois citizens and legislators into realizing that it is
crucial for individuals to understand when providing biometric identifiers such as a fingerprint
who exactly is collecting their biometric data, where it will be transmitted and for what purposes,
and for how long. Defendants disregard these obligations and instead unlawfully collect, store,
and use their employees biometric identifiers and information, without ever receiving the
individual informed written consent required by BIPA.



                                                10
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page11
                                                            36ofof28
                                                                   98PageID
                                                                      PageID#:209
                                                                             #:43




          ANSWER:     Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in the first two sentences of this paragraph. The remaining

allegations in the foregoing paragraph are denied.

       33.    Speedway’s employees are not told what might happen to their biometric data if
and when their local stores go out of business or, worse, if and when Speedway’s entire business
folds.

          ANSWER:     Denied that Speedway or Marathon is under any obligation to tell

employees “what might happen.” The remaining allegations in the foregoing paragraph are

denied.

       34.     Because Speedway neither publishes a BIPA-mandated data retention policy nor
discloses the purposes for its collection of biometric data, Speedway employees have no idea
whether Speedway sells, discloses, re-discloses, or otherwise disseminates their biometric data.
Nor are Plaintiff and the putative Class told to whom Speedway currently disclose their
biometric data, or what might happen to their biometric data in the event of a merger or a
bankruptcy.

          ANSWER:     Denied that Speedway or Marathon collect, store, or transfer biometric

identifiers or biometric information. Admitted that Speedway uses finger-scanning enabled

equipment to track the number of hours worked by some of its Illinois employees. Denied that

Speedway does not have a policy relating to its finger-scanning enabled equipment. Denied that

Speedway does not disclose the purposes of its finger-scanning enabled equipment. Speedway

and Marathon lack sufficient information or knowledge to admit or deny what Speedway’s

employees “have no idea” about. Denied that Speedway or Marathon is under any obligation to

tell employees “what might happen.” Except as expressly admitted, the remaining allegations in

the foregoing paragraph are denied.

       35.     By and through the actions detailed above, Speedway does not only disregard the
Class’ privacy rights, but Speedway also violates BIPA.

          ANSWER:     Denied.



                                                11
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page12
                                                            37ofof28
                                                                   98PageID
                                                                      PageID#:210
                                                                             #:44




III.      Plaintiff Christopher Howe’s Experience

      36.    Plaintiff Christopher Howe worked for Speedway in Addison, Illinois from
September 2015 to May 2017.

          ANSWER:      Admitted that Plaintiff worked for Speedway from September 2015 until

he was terminated for repeatedly violating company policies in May 2017. Except as expressly

admitted, the remaining allegations in the foregoing paragraph are denied.

        37.     As an employee, Howe was required to scan his fingerprint to enable Speedway to
use it as an authentication method to track his time.

          ANSWER:      Admitted that Howe was instructed to scan his finger to enable Speedway

to track his time on the job. Except as expressly admitted, the remaining allegations in the

foregoing paragraph are denied.

          38.   Speedway subsequently stored Howe’s fingerprint data in its database(s).

          ANSWER:      Denied.

       39.      Each time Howe began and ended his workday, he was required to scan his
fingerprint.

          ANSWER:      Admitted that Howe was required to authenticate himself at the beginning

and end of each workday. Except as expressly admitted, the remaining allegations in the

foregoing paragraph are denied.

        40.    Howe has never been informed of the specific limited purposes (if any) or length
of time for which Speedway collected, stored, or used his fingerprint.

          ANSWER:      Denied. Furthermore, Speedway and Marathon deny specifically that

either has collected, stored, or transferred biometric identifiers or biometric information.

        41.      Howe has never been informed of any biometric data retention policy developed
by Speedway, nor has he ever been informed of whether Speedway will ever permanently delete
his fingerprint.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.


                                                   12
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page13
                                                            38ofof28
                                                                   98PageID
                                                                      PageID#:211
                                                                             #:45




      42.    Howe has never been provided nor did he ever sign a written release allowing
Speedway to collect or store his fingerprints.

          ANSWER:       Admitted that Speedway did not provide Howe a written release allowing

Speedway to collect or store his fingerprints. Denied that Speedway or Marathon have collected,

stored, or transferred biometric identifiers or biometric information of Plaintiff or any member of

the putative Class. Except as expressly admitted, the remaining allegations in the foregoing

paragraph are denied.

       43.    Howe has continuously and repeatedly been exposed to the harms and risks
created by Speedway’s violations of BIPA alleged herein.

          ANSWER:       Denied

        44.    Howe suffered an invasion of a legally protected interest when Speedway secured
his personal and private biometric data at a time when Speedway had no right to do so, an
invasion of Howe’s right to privacy. BIPA protects employees like Howe from this precise
conduct and Speedway had no right to secure this data absent a specific Congressional license to
do so.

          ANSWER:       Denied.

         45.    Howe also suffered an informational injury because Speedway failed to provide
him with information to which he was entitled to by statute. Through BIPA, Congress has
created a right—an employee’s right to receive certain information prior to an employer securing
their highly personal and private biometric data—and an injury—not receiving this extremely
critical information.

          ANSWER:       The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied.

        46.     Pursuant to 740 ILCS 14/15(b), Howe was entitled to receive certain information
prior to Speedway securing his biometric data; namely, information advising him of the specific
limited purpose(s) and length of time for which Speedway collects, stores, and uses his
fingerprint; information regarding Speedway’s biometric retention policy; and, a written release
allowing Speedway to collect and store his private biometric data. By depriving Howe of this
information, Speedway injured Howe and the putative Class he seeks to represent. Public
Citizen v. U.S. Department of Justice, 491 U.S. 440, 449 (1989); Federal Election Commission v.
Akins, 524 U.S. 11 (1998).




                                                13
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page14
                                                            39ofof28
                                                                   98PageID
                                                                      PageID#:212
                                                                             #:46




          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied.

        47.    Finally, as a result of Speedway’s conduct, Howe has experienced personal injury
in the form of mental anguish. For example, Howe experiences mental anguish and injury when
contemplating about what would happen to his biometric data if Speedway went bankrupt,
whether Speedway will ever delete his biometric information, and whether (and to whom)
Speedway shares his biometric information.

          ANSWER:      Denied.

      48.    Howe seeks statutory damages under BIPA as compensation for the injuries
Speedway has caused.

          ANSWER:      Denied that Plaintiff, or any member of the putative Class, is entitled to

any of the relief requested in the Complaint.

                                    CLASS ALLEGATIONS

        49.     Pursuant to 735 ILCS 5/2-801 and § 2-802, Named Plaintiff brings claims on his
own behalf and as a representative of all other similarly-situated individuals pursuant to BIPA,
740 ILCS 14/1, et seq., seeking injunctive relief as well as statutory penalties, prejudgment
interest, attorneys’ fees and costs, and other damages owed.

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied that Plaintiff, or any member of the

putative Class, is entitled to any of the relief requested in the Complaint.

        50.     As discussed supra, Section 14/15(b) of BIPA prohibits a private entity from,
among other things, collecting, capturing, purchasing, receiving through trade, or otherwise
obtaining a person’s or a customer’s biometric identifiers or biometric information, unless it first
(1) informs the individual in writing that a biometric identifier or biometric information is being
collected or stored; (2) informs the individual in writing of the specific purpose and length of
time for which a biometric identifier or biometric information is being collected, stored, and
used; and (3) receives a written release executed by the subject of the biometric identifier or
biometric information. 740 ILCS 14/15.

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied that items (1)-(3) above completely and

accurately paraphrase what is stated in 740 ILCS 14/15(b).


                                                 14
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page15
                                                            40ofof28
                                                                   98PageID
                                                                      PageID#:213
                                                                             #:47




      51.    Plaintiff seeks class certification for the following class of similarly-situated
employees under BIPA:

          All individuals who worked for Defendants in the State of Illinois who had their
          fingerprints collected, captured, received, otherwise obtained, or disclosed by the
          Defendants during the applicable statutory period.

          ANSWER:        Denied that a Class should be certified.

          52.    This action is properly maintainable as a class action under § 2-801 because:

                 A. The class is so numerous that joinder of all members is impracticable;

                 B. There are questions of law or fact that are common to the class;

                 C. The claims of the Named Plaintiff are typical of the claims of the class; and,

                 D. The Named Plaintiff will fairly and adequately protect the interests of the
                    class.

          ANSWER:        Denied.

                                             Numerosity

        53.     The exact number of Class members is unknown to Plaintiff at this time, but it is
clear that individual joinder is impracticable. Speedway has collected, captured, received, or
otherwise obtained biometric identifiers or biometric information from hundreds or more
employees who fall into the definition of the Class. The exact number of class members may
easily be determined from Speedway’s payroll records.

          ANSWER:        Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in the first sentence of this paragraph. The remaining allegations in

the foregoing paragraph are denied.

                                            Commonality

       54.     There is a well-defined commonality of interest in the substantial questions of law
and fact concerning and affecting the Class in that Named Plaintiff and all members of the Class
have been harmed by Speedway’s failure to comply with BIPA. The common questions of law
and fact include, but not limited to the following:

                 A. Whether Speedway collected, captured or otherwise obtained biometric
                    identifiers or biometric information of Plaintiff and the Class;




                                                  15
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page16
                                                            41ofof28
                                                                   98PageID
                                                                      PageID#:214
                                                                             #:48




                B. Whether Speedway informed Plaintiff and the Class of its purposes for
                   collecting, using, and storing their biometric identifiers or biometric
                   information as required by BIPA;

                C. Whether Speedway obtained a written release (as defined in 740 ILCS 14/10)
                   to collect, use, and store the biometric identifiers or biometric information of
                   Plaintiff and the Class;

                D. Whether Speedway has disclosed or re-disclosed the biometric identifiers or
                   biometric information of Plaintiff and the Class;

                E. Whether Speedway has sold, leased, traded, or otherwise profited from the
                   biometric identifiers or biometric information of Plaintiff and the Class;

                F. Whether Speedway developed a written policy, made available to the public,
                   establishing a retention schedule and guidelines for permanently destroying
                   biometric identifiers and biometric information when the initial purpose for
                   collecting or obtaining such identifiers or information has been satisfied or
                   within three years of their last interaction, whichever occurs first;

                G. Whether Speedway comply with any such written policy (if one exists);

                H. Whether Speedway used fingerprints of Plaintiff and the Class to identify
                   them;

                I. Whether Speedway’s violations of BIPA were committed negligently; and

                J. Whether Speedway’s violations of BIPA were committed willfully.

          ANSWER:      Denied.

          55.   Plaintiff anticipates that Speedway will raise defenses that are common to the
class.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

                                            Adequacy

       56.     The Named Plaintiff will fairly and adequately protect the interests of all
members of the class, and there are no known conflicts of interest between Named Plaintiff and
class members. Plaintiff, moreover, has retained experienced counsel that are competent in the
prosecution of complex litigation and who have extensive experience acting as class counsel.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

                                                   16
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page17
                                                            42ofof28
                                                                   98PageID
                                                                      PageID#:215
                                                                             #:49




                                             Typicality

        57.    The claims asserted by the Named Plaintiff are typical of the class members he
seeks to represent. The Named Plaintiff has the same interests and suffers from the same
unlawful practices as the class members.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

         58.    Upon information and belief, there are no other class members who have an
interest individually controlling the prosecution of his or her individual claims, especially in light
of the relatively small value of each claim and the difficulties involved in bringing individual
litigation against one’s employer.

          ANSWER:      Speedway and Marathon lack sufficient information or knowledge to

admit or deny the allegations in this paragraph.

                                 Predominance and Superiority

        59.     The common questions identified above predominate over any individual issues,
which will relate solely to the quantum of relief due to individual class members. A class action
is superior to other available means for the fair and efficient adjudication of this controversy
because individual joinder of the parties is impracticable. Class action treatment will allow a
larger number of similarly-situated persons to prosecute their common claims in a single forum
simultaneously, efficiently and without the unnecessary duplication of effort and expense if these
claims were brought individually. Moreover, as the damages suffered by each class member are
relatively small in the sense pertinent to class action analysis, the expenses and burden of
individual litigation would make it difficult for individual class members to vindicate their
claims.

          ANSWER:      Denied.

        60.     On the other hand, important public interests will be served by addressing the
matter as a class action. The cost to the court system and the public for the adjudication of
individual litigation and claims would be substantially more than if claims are treated as a class
action. Prosecution of separate actions by individual class members would create a risk of
inconsistent and varying adjudications, establish incompatible standards of conduct for
Defendants and/or substantially impair or impede the ability of class members to protect their
interests. The issues in this action can be decided by means of common, class-wide proof. In
addition, if appropriate, the Court can and is empowered to, fashion methods to efficiently
manage this action as a class action.

          ANSWER:      Denied.




                                                   17
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page18
                                                            43ofof28
                                                                   98PageID
                                                                      PageID#:216
                                                                             #:50




                                  FIRST CAUSE OF ACTION
                                Violation of 740 ILCS 14/1, et seq.
                               (On Behalf of Plaintiff and the Class)

          61.   Plaintiff incorporates the foregoing allegations as if fully set forth herein.

          ANSWER:       Speedway and Marathon incorporate their responses to the foregoing

allegations as if fully set forth herein.

        62.     BIPA requires private entities to obtain informed written consent from consumers
before acquiring their biometric data. Specifically, BIPA makes it unlawful for any private
entity to “collect, capture, purchase, receive through trade, or otherwise obtain a person’s or a
customer’s biometric identifiers or biometric information unless [the entity] first: (1) informs the
subject … in writing that a biometric identifier or biometric information is being collected or
stored; (2) informs the subject … in writing of the specific purpose and length of term for which
a biometric identifier or biometric information is being collected, stored, and used; and
(3) receives a written release executed by the subject of the biometric identifier or biometric
information….” 740 ILCS 14/15(b) (emphasis added).

          ANSWER:       The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied that items (1)-(3) above completely and

accurately paraphrase what is stated in 740 ILCS 14/15(b).

       63.     BIPA also prohibits private entities from disclosing a person’s or customer’s
biometric identifier or biometric information without first obtaining consent for that disclosure.
See 740 ILCS 14/15(d)(1).

          ANSWER:       The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied.

        64.     BIPA also mandates that private entities in possession of biometric data establish
and maintain a satisfactory biometric data retention – and, importantly, deletion – policy.
Specifically, those entities must: (i) make publicly available a written policy establishing a
retention schedule and guidelines for permanent deletion of biometric data (at most three years
after the entity’s last interaction with the customer); and (ii) actually adhere to that retention
schedule and actually delete the biometric information. See 740 ILCS 14/15(a).

          ANSWER:       The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: admitted that BIPA requires a private entity to

maintain a public written policy governing the retention and deletion of biometric information


                                                  18
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page19
                                                            44ofof28
                                                                   98PageID
                                                                      PageID#:217
                                                                             #:51




and identifiers. Admitted that items (i) and (ii) are required under 740 ILCS 14/15(a). Except as

expressly admitted, the remaining allegations in the foregoing paragraph are denied.

          65.   Defendants fail to comply with these BIPA mandates.

          ANSWER:      Denied.

       66.     Defendant Speedway LLC is a Delaware limited liability company registered to
do business in Illinois and thus qualifies as a “public entity” under BIPA. See 740 ILCS 14/10.

          ANSWER:      Denied.

       67.     Defendant Marathon is an Ohio corporation registered to do business in Illinois
and thus qualifies as a “public entity” under BIPA. See 740 ILCS 14/10.

          ANSWER:      Denied.

         68.     Defendant Kronos, Inc. is a Massachusetts corporation registered to do business
in Illinois and thus qualifies as a “public entity” under BIPA. See 740 ILCS 14/10.

          ANSWER:      Denied.

        69.     Plaintiff and the Class are individuals who had their “biometric identifiers”
collected by Defendants (in the form of their fingerprints), as explained in detail in Sections II
and III, supra. See 740 ILCS 14/10.

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied that Speedway or Marathon have

collected biometric identifiers from Plaintiff or any member of the putative Class. Speedway and

Marathon otherwise lack sufficient information or knowledge to admit or deny the remaining

allegations in this paragraph, including in relation to Kronos, Inc.

       70.     Plaintiff’s and the Class’s biometric identifiers were used to identify them and,
therefore, constitute “biometric information” as defined by BIPA. See 740 ILCS 14/10.

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied that Speedway or Marathon have used

biometric identifiers to identify Plaintiff or any member of the putative Class. Speedway and




                                                 19
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page20
                                                            45ofof28
                                                                   98PageID
                                                                      PageID#:218
                                                                             #:52




Marathon otherwise lack sufficient information or knowledge to admit or deny the remaining

allegations in this paragraph, including in relation to Kronos, Inc.

        71.     Defendants systematically and automatically collected, used, stored, and disclosed
Plaintiff’s and the Class’s biometric identifiers or biometric information without first obtaining
the written release required by 740 ILCS 14/15(b)(3).

          ANSWER:      The allegations of this paragraph are legal conclusions to which no answer

is required. To the extent an answer is required: denied that Speedway or Marathon have

collected, used, stored, or disclosed biometric identifiers or biometric information of Plaintiff or

any member of the putative Class. Speedway and Marathon otherwise lack sufficient information

or knowledge to admit or deny the remaining allegations in this paragraph, including in relation

to Kronos, Inc.

       72.     Upon information and belief, Speedway LLC and Marathon Petroleum Company
systematically disclosed Plaintiff’s and the Class’s biometric identifiers and biometric
information to an out-of-state third-party vendor, Kronos.

          ANSWER:      Denied.

       73.     Defendants did not properly inform Plaintiff or the Class in writing that their
biometric identifiers or biometric information were being collected and stored, nor did it inform
them in writing of the specific purpose and length of term for which their biometric identifiers or
biometric information was being collected, stored, and used as required by 740 ILCS
14/15(b)(1)-(2).

          ANSWER:      Denied.

        74.    Defendants do not provide a publicly available retention schedule or guidelines
for permanently destroying its employees’ biometric identifiers and biometric information as
specified by BIPA. See 740 ILCS 14/15(a).

          ANSWER:      Denied.

        75.     By negligently, recklessly or willfully collecting, storing, and using Plaintiff’s and
the Class’s biometric identifiers and biometric information as described herein, Defendants
violated Plaintiff’s and the Class’s rights to privacy in their biometric identifiers or biometric
information as set forth in BIPA. See 740 ILCS 14/1, et seq.

          ANSWER:      Denied.


                                                 20
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page21
                                                            46ofof28
                                                                   98PageID
                                                                      PageID#:219
                                                                             #:53




        76.     On behalf of himself and the Class, Plaintiff seeks: (1) declaratory relief;
(2) injunctive and equitable relief as is necessary to protect the interests of Plaintiff and the Class
by requiring Defendants to comply with BIPA’s requirements for the collection, storage, and use
of biometric identifiers and biometric information as described herein; (3) statutory damages of
$5,000 for each willful and/or reckless violation of BIPA or, in the alternative, statutory damages
of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS 14/20(1); and
(4) reasonable attorneys’ fees and costs and other litigation expenses pursuant to 740 ILCS
14/20(3).

          ANSWER:       Denied that Plaintiff, or any member of the putative Class, is entitled to

any of the relief requested in the Complaint.

                                 SECOND CAUSE OF ACTION
                                            Negligence
                               (On Behalf of Plaintiff and the Class)

          77.   Plaintiff incorporates the foregoing allegations as if fully set forth herein.

          ANSWER:       Speedway and Marathon incorporate their responses to the foregoing

allegations as if fully set forth herein.

        78.     Defendants owed Plaintiff and the Class a duty of reasonable care. That duty
required that Defendants exercise reasonable care in the collection and use of the biometric data
of Plaintiff and the Class.

          ANSWER:       Denied.

        79.    Additionally, Defendants owed Plaintiff and the Class a heightened duty – under
which Defendants assumed a duty to act carefully and not put Plaintiff and the Class at undue
risk of harm – because of the employment relationship of the parties.

          ANSWER:       Denied.

       80.     Defendants breached their duties by failing to implement reasonable procedural
safeguards in connection with their collection and use of the biometric identifiers and biometric
information of Plaintiff and the Class.

          ANSWER:       Denied.

        81.     Specifically, Defendants breached their duties by failing to properly inform
Plaintiff and the Class in writing of the specific purpose or length for which their fingerprints
were being collected, stored, and used.

          ANSWER:       Denied.



                                                  21
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page22
                                                            47ofof28
                                                                   98PageID
                                                                      PageID#:220
                                                                             #:54




        82.    Defendants also breached their duties by failing to provide a publicly available
retention schedule and guidelines for permanently destroying the biometric data of Plaintiff and
the Class.

          ANSWER:     Denied.

       83.     Defendants’ breach of their duties proximately caused and continues to cause an
invasion of privacy to Plaintiff and the Class, as well as informational injury to them.

          ANSWER:     Denied.

        84.     Accordingly, Plaintiff seeks an order declaring that Defendants’ conduct
constitutes negligence and awarding Plaintiff and the Class damages in an amount to be
calculated at trial.

          ANSWER:     Denied that Plaintiff, or any member of the putative Class, is entitled to

any of the relief requested in the Complaint.

                                    PRAYER FOR RELIEF

        Wherefore, Plaintiff Christopher Howe, on behalf of himself, individually, and on behalf
of the Class, respectfully requests that this Court enter an Order:

               A. Certifying this case as a class action on behalf of the Class defined above,
                  appointing Plaintiff Christopher Howe as Class Representative, and
                  appointing Stephan Zouras, LLP, as Class Counsel;

               B. Declaring that Defendants’ actions, as set forth above, violate BIPA;

               C. Awarding statutory damage of $5,000 for each willful and/or reckless
                  violation of BIPA, or, in the alternative, statutory damages of $1,000 for each
                  negligent violation of BIPA pursuant to 740 ILCS 14/20(1);

               D. Declaring that Defendants’ actions, as [set] forth out above, constitute
                  negligence;

               E. Declaring that Defendants’ actions, as set forth above, were willful;

               F. Awarding injunctive and other equitable relief as is necessary to protect the
                  interests of Plaintiff and the Class, including an Order requiring Defendants to
                  collect, store, and use biometric identifiers or biometric information in
                  compliance with BIPA;

               G. Awarding Plaintiff and the Class their reasonable attorneys’ fees and costs and
                  other litigation expenses pursuant to 740 ILCS 14/20(3);



                                                22
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page23
                                                            48ofof28
                                                                   98PageID
                                                                      PageID#:221
                                                                             #:55




                  H. Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent
                     allowable; and

                  I. Awarding such other and further relief as equity and justice may require.

          ANSWER:         Denied that Plaintiff, or any member of the putative Class, is entitled to

any of the relief requested in the Complaint.

                                              JURY TRIAL

          Plaintiff demands a trial by jury for all issues so trial.

          ANSWER:         This paragraph contains only a legal assertion to which no answer is

required. To the extent an answer is required: denied that Plaintiff, or any member of the putative

Class, is entitled to any of the relief requested in the Complaint.

                                              *       *       *

                                      ADDITIONAL DEFENSES

          Alternatively, and without waiving the foregoing denials, Speedway and Marathon assert

the affirmative and additional defenses below. By pleading these defenses, Speedway and

Marathon do not intend to alter the burden of proof and/or burden of persuasion that otherwise

exists with respect to any issues in this action. Moreover, all defenses are pled in the alternative

and do not constitute an admission of liability or an admission that Plaintiff or any member of

the putative Class is entitled to any relief whatsoever.

                                  FIRST AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part because Plaintiff and all putative Class

members consented to the conduct that is alleged to violate BIPA. Upon information and belief,

Plaintiff and each putative Class member voluntarily consented to the practices the Complaint

challenges by agreeing to use and participate in Speedway’s time-keeping systems and practices,

including with respect to scanning a finger.



                                                     23
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page24
                                                            49ofof28
                                                                   98PageID
                                                                      PageID#:222
                                                                             #:56




                               SECOND AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part because it seeks relief that is barred under the

Due Process Clause of the Constitution. The Complaint seeks either $1,000 or $5,000 in

statutory damages for each alleged BIPA violation, even though neither Plaintiff nor the putative

Class has suffered any harm as a result of the conduct alleged. The statutory damages available

under BIPA are grossly excessive and disproportionate in light of the absence of any injury or

harm to Plaintiff and the putative Class members, and therefore any award of statutory damages

to the Plaintiff or putative Class members would violate Speedway’s and Marathon’s due process

rights.

                                THIRD AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part under the doctrines of estoppel and waiver.

Upon information and belief, Plaintiff and each putative Class member affirmatively approved

and participated in the conduct that the Complaint alleges was wrongful. Plaintiff and the Class

members are accordingly barred from asserting BIPA claims under the doctrines of estoppel and

waiver.

                               FOURTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part under the doctrine of laches. The Complaint

implies that Speedway and Marathon engaged in the complained-of conduct dating back to 2013,

and that Plaintiff and each putative Class member knew of that conduct, and even participated in

it. Thus, Plaintiff and each putative Class member unreasonably delayed seeking recovery under

BIPA.

                                FIFTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part under the doctrine of unclean hands. Upon

information and belief, Plaintiff and each putative Class member approved and, in some cases,

                                                   24
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page25
                                                            50ofof28
                                                                   98PageID
                                                                      PageID#:223
                                                                             #:57




participated in the complained-of conduct by using, and agreeing to use, Speedway’s time-

keeping systems and practices, including with respect to scanning a finger.

                                SIXTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part because neither Plaintiff nor any putative

Class member alleges they have been “aggrieved by a violation” of BIPA.

                              SEVENTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part because neither Speedway nor Marathon

retained, stored, collected, possessed, captured, purchased, received, transmitted, or disclosed

biometric identifiers or biometric information as defined under BIPA.

                               EIGHTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part under the doctrines of ratification and

acquiescence. Upon information and belief, Plaintiff and each putative Class member approved

and, in some cases, participated in the complained-of conduct by using, and agreeing to use,

Speedway’s time-keeping systems and practices, including with respect to scanning a finger.

                                NINTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part because, upon information and belief,

Plaintiff and each putative Class member failed to assert a cause of action within the periods

required by the applicable statute of limitations. See 735 ILCS 5/13-202 (two-year limitations

period to recover damages for an alleged injury to the person or a statutory penalty); 735 ILCS

5/13-201 (one-year limitations period for publication of matter violating right of privacy).

                               TENTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part because Speedway and Marathon

substantially complied with BIPA at all times relevant to the allegations in the Complaint.



                                                  25
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page26
                                                            51ofof28
                                                                   98PageID
                                                                      PageID#:224
                                                                             #:58




                             ELEVENTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part to the extent that any claim of Plaintiff or any

putative Class member is barred under the doctrines of issue or claim preclusion.

                              TWELFTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part to the extent that any claim of Plaintiff or any

putative Class member failed to mitigate its damages.

                            THIRTEENTH AFFIRMATIVE DEFENSE

          The Complaint is barred in whole or in part because Plaintiff is not entitled to pursue

claims as a class action.

                            FOURTEENTH AFFIRMATIVE DEFENSE

          The claims of Plaintiff may be barred, in whole or in part, by applicable law relating to

spoliation of evidence.

                             FIFTEENTH AFFIRMATIVE DEFENSE

          The claims of Plaintiff may be barred, in whole or in part, because the claims are moot as

to Plaintiff and some or all members of the putative Class.

                             SIXTEENTH AFFIRMATIVE DEFENSE

          The claims of Plaintiff may be barred, in whole or in part, under the doctrines of release

and/or accord and satisfaction.



                            RESERVATION OF RIGHT TO AMEND

Speedway and Marathon reserve the right to assert additional defenses, counterclaims, cross-

claims, or third-party claims as they become known throughout the course of this litigation and

as may become available under the substantive laws of Illinois.



                                                   26
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page27
                                                            52ofof28
                                                                   98PageID
                                                                      PageID#:225
                                                                             #:59




          WHEREFORE, Speedway and Marathon ask that:

          (a)   the Court dismiss the Complaint with prejudice;

          (b)   judgment against Plaintiff be entered in favor of Speedway and Marathon;

          (c)   any and all claims for damages of any sort or nature be denied; and

          (d)   Speedway and Marathon be awarded their costs and attorneys’ fees incurred in

                defending this action, as well as any other relief that this Court deems just and

                appropriate.

Dated: November 9, 2017                           Respectfully submitted,

                                                  SPEEDWAY LLC and
                                                  MARATHON PETROLEUM COMPANY

                                                  By: /s/ Gary M. Miller

Tristan L. Duncan (pro hac vice)                  Gary M. Miller
SHOOK, HARDY & BACON L.L.P.                       Anna S. Knight
2555 Grand Boulevard                              Patrick J. Castle
Kansas City, MO 64108                             SHOOK, HARDY & BACON L.L.P.
(816) 474-6550                                    111 South Wacker Drive, 51st Floor
tlduncan@shb.com                                  Chicago, IL 60606
                                                  Tel: (312) 704-7700
Alfred J. Saikali (pro hac vice)                  Fax: (312) 558-1195
SHOOK, HARDY & BACON L.L.P.                       Firm No. 58950
201 South Biscayne Boulevard, Suite 3200          gmiller@shb.com
Miami, FL 33131                                   asknight@shb.com
(305) 358-5171                                    pcastle@shb.com
asaikali@shb.com
                                                  Attorneys for Defendants Speedway LLC and
                                                  Marathon Petroleum Company




                                                 27
3994457
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 28
                                   1-1Filed:
                                       Filed:11/09/17
                                              02/25/19Page
                                                       Page28
                                                            53ofof28
                                                                   98PageID
                                                                      PageID#:226
                                                                             #:60




                                       CERTIFICATE OF SERVICE

          I, Patrick J. Castle, an attorney, hereby certify that on November 9, 2017, I caused a true

and correct copy of SPEEDWAY LLC’S AND MARATHON PETROLEUM COMPANY’S

ANSWER AND AFFIRMATIVE DEFENSES TO CLASS ACTION COMPLAINT to be

served on counsel of record via ECF pursuant to the General Order on Electronic Filing of the

United States District Court, Northern District of Illinois, addressed as follows:

                              Ryan F. Stephan
                              James B. Zouras
                              Andrew C. Ficzko
                              Haley R. Jenkins
                              STEPHAN ZOURAS, LLP
                              205 North Michigan Avenue, Suite 2560
                              Chicago, IL 60601
                              (312) 233-1550
                              (312) 233-1560 (Fax)
                              lawyers@stephanzouras.com
                              rstephan@stephanzouras.com
                              jzouras@stephanzouras.com
                              aficzko@stephanzouras.com

                              Benjamin H. Richman
                              Sydney M. Janzen
                              Ari J. Scharg
                              Christopher L. Dore
                              EDELSON PC
                              350 North LaSalle Street, Suite 1300
                              Chicago, IL 60654
                              brichman@edelson.com
                              sjanzen@edelson.com
                              ascharg@edelson.com
                              cdore@edelson.com

                                     Attorneys for Christopher Howe



                                                    /s/ Patrick J. Castle




3994457
 Case:
  Case:1:19-cv-01374
         1:17-cv-07303Document
                       Document#:#:1-1
                                     13Filed:
                                        Filed:02/25/19
                                               10/12/17Page
                                                        Page54 of 198PageID
                                                             1 of     PageID#:58
                                                                              #:61

                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

Christopher Howe
                                 Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                 Defendant.



                 NOTICE OF MANDATORY INITIAL DISCOVERY

The Court is participating in the Mandatory Initial Discovery Pilot (MIDP). The key
features and deadlines are set forth in the attached Notice which includes the (MIDP)
Standing Order. Also attached is a Checklist for use by the parties. In cases subject to the
pilot, all parties must respond to the mandatory initial discovery requests set forth in the
Standing Order before initiating any further discovery in this case. Please note: The
discovery obligations in the Standing Order supersede the disclosures required by Rule
26(a)(1). Any party seeking affirmative relief must serve a copy of the attached
documents (Notice to Parties and the Standing Order) on each new party when the
Complaint, Counterclaim, Crossclaim, or Third−Party Complaint is served.
 Case:
  Case:1:19-cv-01374
         1:17-cv-07303Document
                       Document#:#:1-1
                                     14Filed:
                                        Filed:02/25/19
                                               10/13/17Page
                                                        Page55 of 198PageID
                                                             1 of     PageID#:59
                                                                              #:62

                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

Christopher Howe
                                  Plaintiff,
v.                                                      Case No.: 1:17−cv−07303
                                                        Honorable Andrea R. Wood
Speedway LLC, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, October 13, 2017:


         MINUTE entry before the Honorable Andrea R. Wood: Defendant's Unopposed
Motion for extension of time to answer [6] is granted. Defendants Speedway LLC and
Marathon Petroleum Company shall answer or otherwise plead by 11/9/2017. The motion
presentment date of 10/17/2017 is stricken. Parties need not appear. Initial status hearing
set for 12/12/2017 at 9:00 AM. The parties are directed to meet and conduct a planning
conference pursuant to Federal Rule of Civil Procedure 26(f). At least seven days before
the initial status hearing, the parties shall file a joint written status report, not to exceed
five pages in length. The initial status report shall provide the information described on
the Court's website at www.ilnd.uscourts.gov under District Judges, Judge Andrea R.
Wood, Initial Status Conference. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
 Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 56 of 98 PageID #:63
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                    
         
                               


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                                                    
                                                      
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                                



                        




















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  Case:1:19-cv-01374
        1:17-cv-07303Document
                      Document#:#:1-1
                                   29 Filed:
                                      Filed: 02/25/19
                                             11/16/17 Page
                                                      Page 57
                                                           1 ofof198 PageID
                                                                   PageID   #:64
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                    UNITED STATES DISTRICT COURT
         FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1.2
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, November 16, 2017:


        MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held. The
Court set the following briefing schedule for Defendants' motion to dismiss [25]: Plaintiff
shall respond by 12/14/2017 and Defendants shall reply by 1/5/2018. Initial Status hearing
set for 12/12/2017 [14] remains firm. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
 Case:
  Case:1:19-cv-01374
        1:17-cv-07303Document
                      Document#:#:1-1
                                   33 Filed:
                                      Filed: 02/25/19
                                             12/07/17 Page
                                                      Page 58
                                                           1 ofof198 PageID
                                                                   PageID   #:65
                                                                          #:248

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 7, 2017:


       MINUTE entry before the Honorable Andrea R. Wood: Motion Hearing set for
12/7/2017 is stricken and reset for 12/12/2017 at 09:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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 Case:
  Case:1:19-cv-01374
        1:17-cv-07303Document
                      Document#:#:1-1
                                   36 Filed:
                                      Filed: 02/25/19
                                             12/12/17 Page
                                                      Page 59
                                                           1 ofof198 PageID
                                                                   PageID   #:66
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 12, 2017:


         MINUTE entry before the Honorable Andrea R. Wood: Motion and Status hearing
held. Defendant's motion for extension of time to produce documents [30] is granted.
Defendant's hard copy and electronic documents responsive to the Mandatory Initial
Discovery Pilot (MIDP) request shall be produced by 2/22/2018. The Court adopts the
parties' proposed discovery schedule [32]. Fact discovery shall be completed by 8/1/2018;
expert disclosures are due by 9/1/2018; rebuttal disclosures shall be served by 12/1/2018;
expert deposition shall be completed by 3/1/2019; and any dispositive motions shall be
filed by 5/1/2019. Status hearing set for 3/27/2018 at 9:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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For scheduled events, motion practices, recent opinions and other information, visit our
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 Case:
  Case:1:19-cv-01374
        1:17-cv-07303Document
                      Document#:#:1-1
                                   47 Filed:
                                      Filed: 02/25/19
                                             01/16/18 Page
                                                      Page 60
                                                           1 ofof198 PageID
                                                                   PageID   #:67
                                                                          #:341

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                 Plaintiff,
v.                                                     Case No.: 1:17−cv−07303
                                                       Honorable Andrea R. Wood
Speedway LLC, et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 16, 2018:


         MINUTE entry before the Honorable Andrea R. Wood: Plaintiff's Agreed Motion
for entry of confidentiality order [41] is granted. Enter order. Plaintiff's Motion for leave
to file sur−reply [44] is taken under advisement. Plaintiff's Motion for leave to file
sur−reply [43] is terminated as duplicative of motion [44]. The motion presentment date
of 1/17/2018 is stricken. Parties need not appear. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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For scheduled events, motion practices, recent opinions and other information, visit our
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     Case:
     Case: 1:19-cv-01374
           1:17-cv-07303 Document
                         Document #:
                                  #: 1-1 Filed: 01/16/18
                                     48 Filed:  02/25/19 Page
                                                         Page 161ofof1398PageID
                                                                          PageID#:342
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CHRISTOPHER HOWE, individually and on
behalf of all others similarly situated,

                  Plaintiff,

v.                                                      No. 17-cv-07303

SPEEDWAY LLC and MARATHON                                Judge Andrea R. Wood
PETROLEUM COMPANY,

                  Defendants.

                          AGREED CONFIDENTIALITY ORDER

        The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

        1.     Scope. All materials produced or adduced in the course of discovery by the

parties or any third party (a “party”), including initial disclosures, responses to discovery

requests, deposition testimony and exhibits, and information derived directly therefrom

(hereinafter collectively “documents”), shall be subject to this Order concerning Confidential

Information as defined below. This Order is subject to the Local Rules of this District and the

Federal Rules of Civil Procedure on matters of procedure and calculation of time periods.

        2.     Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL” by the producing party that falls within

one or more of the following categories: (a) information prohibited from disclosure by statute;

(b) commercial, financial, operational, customer, and product information that the party has

maintained as confidential; (c) medical information concerning any individual; (d) personal

identity information; (e) income tax returns (including attached schedules and forms), W-2
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 01/16/18
                                   48 Filed:  02/25/19 Page
                                                       Page 262ofof1398PageID
                                                                        PageID#:343
                                                                                #:69




forms, and 1099 forms; and (f) personnel or employment records of a person who is not a party

to the case. Information or documents that are available to the public may not be designated as

Confidential Information. Confidential Information also means information designated as

“CONFIDENTIAL-ATTORNEYS’ EYES ONLY” by the producing party that falls within one

or more of the following categories: (g) information that reveals trade secrets; (h) non-published

pricing, cost, and sales information; (i) highly sensitive proprietary hardware, software, or other

technical product or operational information; and (j) other highly sensitive confidential or

proprietary information that provides a competitive advantage, or highly personal information

that could adversely impact a person’s privacy interests.

       3.      Designation.

               a.     A party shall designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL” or

“CONFIDENTIAL-ATTORNEYS’ EYES ONLY” on the document and on all copies in a

manner that will not interfere with the legibility of the document. As used in this Order,

“copies” include electronic images, duplicates, extracts, summaries or descriptions that contain

the Confidential Information. The marking “CONFIDENTIAL” or “CONFIDENTIAL-

ATTORNEYS’ EYES ONLY” shall be applied prior to or at the time the documents are

produced or disclosed.     Applying the marking “CONFIDENTIAL” or “CONFIDENTIAL-

ATTORNEYS’ EYES ONLY” to a document does not mean that the document has any status or

protection by statute or otherwise except to the extent and for the purposes of this Order. Any

copies that are made of any documents marked “CONFIDENTIAL” or “CONFIDENTIAL-

ATTORNEYS’ EYES ONLY” shall also be so marked, except that indices, electronic databases,

or lists of documents that do not contain substantial portions or images of the text of marked

                                               -2-
    Case:
    Case: 1:19-cv-01374
          1:17-cv-07303 Document
                        Document #:
                                 #: 1-1 Filed: 01/16/18
                                    48 Filed:  02/25/19 Page
                                                        Page 363ofof1398PageID
                                                                         PageID#:344
                                                                                 #:70




documents and do not otherwise disclose the substance of the Confidential Information are not

required to be marked.

                 b.       The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains Confidential

Information as defined in this order.1

         4.      Depositions.

         Deposition testimony is protected by this Order only if designated as “CONFIDENTIAL”

or “CONFIDENTIAL-ATTORNEYS’ EYES ONLY” on the record at the time the testimony is

taken. Such designation shall be specific as to the portions that contain Confidential Information.

Deposition testimony so designated shall be treated as Confidential Information protected by this

Order until fourteen days after delivery of the transcript by the court reporter to any party or the

witness. Within fourteen days after delivery of the transcript, a designating party may serve a

Notice of Designation to all parties of record identifying the specific portions of the transcript

that are designated Confidential Information, and thereafter those portions identified in the

Notice of Designation shall be protected under the terms of this Order. The failure to serve a

timely Notice of Designation waives any designation of deposition testimony as Confidential

Information that was made on the record of the deposition, unless otherwise ordered by the

Court.




1
 An attorney who reviews the documents and designates them as CONFIDENTIAL” or “CONFIDENTIAL-
ATTORNEYS’ EYES ONLY” must be admitted to the Bar of at least one state but need not be admitted to practice
in the Northern District of Illinois unless the lawyer is appearing generally in the case on behalf of a party. By
designating documents confidential pursuant to this Order, counsel submits to the jurisdiction and sanctions of this
Court on the subject matter of the designation.

                                                       -3-
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 01/16/18
                                   48 Filed:  02/25/19 Page
                                                       Page 464ofof1398PageID
                                                                        PageID#:345
                                                                                #:71




        5.     Protection of Confidential Material.

               a.     General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties, or any other persons identified in subparagraph

(b) for any purpose whatsoever other than this litigation, including any appeal thereof.

Confidential Information may not be used for any commercial purpose (aside from prosecuting

or defending against the claims in this action), for the purpose of obtaining clients or developing

business, or in connection with any litigation other than this case. In a putative class action,

Confidential Information may be disclosed only to the named plaintiff(s) and not to any other

member of the putative class unless and until a class including the putative member has been

certified.

               b.     Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set forth in subparagraphs (i)-(ix). Subject to these requirements and those

described elsewhere in this Order, the following categories of persons may be allowed to review

Confidential Information:

               i.     Counsel. Counsel for the parties and employees of counsel who have
                      responsibility for the action;

               ii.    Parties. Individual parties and agents of a party, but only to the extent
                      counsel determines in good faith that the agent’s assistance is reasonably
                      necessary to the conduct of the litigation in which the information is
                      disclosed;

               iii.   The Court and its personnel;

               iv.    Court Reporters and Recorders. Court reporters and recorders engaged
                      for depositions;

               v.     Contractors. Those persons specifically engaged for the limited purpose
                      of making copies of documents or organizing or processing documents,
                      including outside vendors hired to process electronically stored
                      documents;
                                            -4-
    Case:
    Case: 1:19-cv-01374
          1:17-cv-07303 Document
                        Document #:
                                 #: 1-1 Filed: 01/16/18
                                    48 Filed:  02/25/19 Page
                                                        Page 565ofof1398PageID
                                                                         PageID#:346
                                                                                 #:72




                  vi.      Consultants and Experts.         Consultants, investigators, or experts
                           employed by the parties or counsel for the parties to assist in the
                           preparation and trial of this action but only after such persons have
                           completed the certification contained in Attachment A, Acknowledgment
                           of Understanding and Agreement to Be Bound;

                  vii.     Witnesses at depositions. During their depositions, witnesses in this
                           action to whom disclosure is reasonably necessary. Witnesses shall not
                           retain a copy of documents containing Confidential Information, except
                           witnesses may receive a copy of all exhibits marked at their depositions in
                           connection with review of the transcripts. Pages of transcribed deposition
                           testimony or exhibits to depositions that are designated as Confidential
                           Information pursuant to the process set out in this Order must be
                           separately bound by the court reporter and may not be disclosed to anyone
                           except as permitted under this Order.

                  viii.    Author or recipient. The author or recipient of the document (not
                           including a person who received the document in the course of litigation);
                           and

                  ix.      Others by Consent. Other persons only by written consent of the
                           producing party or upon order of the Court and on such conditions as may
                           be agreed or ordered.

Notwithstanding the foregoing, counsel for the parties shall not disclose or permit the disclosure

of any documents designated “CONFIDENTIAL-ATTORNEYS’ EYES ONLY” to any third

person or entity except for in-house counsel for any party and as set forth in subparagraphs (i),

(iii), (iv), (vi), (viii), and (ix).

                  c.       Control of Documents. Counsel for the parties shall: (i) make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information; (ii)

immediately notify a designating party of any disclosure of Confidential Information not

permitted by this Order; and (iii) maintain the originals of the forms signed by persons

acknowledging their obligations under this Order for a period of three years after the termination

of the case.

         6.       Inadvertent Failure to Designate.         An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate
                                           -5-
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 01/16/18
                                   48 Filed:  02/25/19 Page
                                                       Page 666ofof1398PageID
                                                                        PageID#:347
                                                                                #:73




the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as Confidential Information after it was

initially produced, the receiving party, on notification of the designation, must make a reasonable

effort to assure that the document is treated in accordance with the provisions of this Order. No

party shall be found to have violated this Order for failing to maintain the confidentiality of

material during a time when that material has not been designated Confidential Information, even

where the failure to designate was inadvertent and where the material is subsequently designated

Confidential Information.

        7.     Filing of Confidential Information. Any documents (including briefs), tangible

things, or information designated as Confidential that are submitted to the Court in support of or

in opposition to a motion or introduced at a hearing or during trial may retain their protected

confidential status only by order of the Court in accordance with Judge Wood’s case procedures.

This Order does not, by itself, authorize the filing of any document under seal. Any party

wishing to file a document designated as Confidential Information in connection with a motion,

brief or other submission to the Court must bring an appropriate motion for leave to file under

seal in accordance with Judge Wood’s procedures. Such party also must provide no less than

three court days advance notice of the motion for leave to file under seal to any third-party who

has designated Confidential Information that such party seeks to file or otherwise submit in the

case.

        8.     No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it




                                               -6-
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 01/16/18
                                   48 Filed:  02/25/19 Page
                                                       Page 767ofof1398PageID
                                                                        PageID#:348
                                                                                #:74




requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

       9.      Challenges by a Party to Designation as Confidential Information.              The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.

               a.     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis for

its belief that the confidentiality designation was not proper and must give the designating party

an opportunity to review the designated material, to reconsider the designation, and, if no change

in designation is offered, to explain the basis for the designation. The designating party must

respond to the challenge within five business days.

               b.     Judicial Intervention.      If the parties cannot reach an agreement

concerning the matter of the objection, then either party may move for a Court order concerning

the objection within 14 days after the written objection to a designation was issued. If the

designating party fails to move for a Court order within 14 days, or any extension thereof as may

be agreed by the parties or ordered by the Court, the challenged designation shall be rescinded.

The burden of persuasion in any such challenge proceeding shall be on the designating party.

Until the Court rules on the challenge, all parties shall continue to treat the materials as

Confidential Information under the terms of this Order.

       10.     Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or




                                              -7-
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 01/16/18
                                   48 Filed:  02/25/19 Page
                                                       Page 868ofof1398PageID
                                                                        PageID#:349
                                                                                #:75




any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

       11.     Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the use of any document, material, or information at any trial or

hearing. A party that intends to present or that anticipates that another party may present

Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

       12.     Confidential Information Subpoenaed or Ordered Produced in Other

Litigation.

               a.     If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,

immediately and in no event more than five court days after receiving the subpoena or order nor

less than seven court days before the response to the subpoena or order is due. Such notification

must include a copy of the subpoena or court order.

               b.     The receiving party also must immediately inform in writing the party

who caused the subpoena or court order at issue in the other litigation that some or all of the

material covered by the subpoena or order is the subject of this Order. In addition, the receiving

party must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena or order at issue.




                                              -8-
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 01/16/18
                                   48 Filed:  02/25/19 Page
                                                       Page 969ofof1398PageID
                                                                        PageID#:350
                                                                                #:76




                c.     The purpose of imposing these duties is to alert the interested party to the

existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court.

The obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the designating party to this case.

          13.   Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the party that made the initial confidential designation will have the burden

of demonstrating the propriety of filing under seal.

          14.   Reservations of Rights. This Order and/or the designation, production or receipt

of Confidential Information shall not prejudice the rights of any party: (a) to object to the

discovery of information or production of documents that such party considers to be not subject

to discovery; (b) to object to the authenticity, relevance, materiality and/or admissibility of any

information subject to this Order; or (c) to seek further protection from or a determination by the

Court as to the matters set forth herein.

          15.   Obligations on Conclusion of Litigation.

                a.     Order Continues in Force. Unless otherwise agreed or ordered, this

Order shall remain in force after dismissal or entry of final judgment not subject to further

appeal.




                                               -9-
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 48
                                   1-1Filed:
                                       Filed:01/16/18
                                              02/25/19Page
                                                       Page10
                                                            70ofof13
                                                                   98PageID
                                                                      PageID#:351
                                                                             #:77




               b.      Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents marked “CONFIDENTIAL” or “CONFIDENTIAL-ATTORNEYS’ EYES

ONLY” under this Order, including copies as defined in paragraph 3(a), shall be returned to the

producing party unless: (i) the document has been offered into evidence or filed without

restriction as to disclosure; or (ii) the documents will be destroyed in lieu of return.

               c.      Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (i)

attorney work product, including an index that refers or relates to designated Confidential

Information and including copies of Confidential Information contained in the electronic files of

the parties’ attorneys and paralegals, and (ii) one complete set of all documents filed with the

Court including those filed under seal. Any retained Confidential Information shall continue to

be protected under this Order. An attorney may use his or her work product in subsequent

litigation, provided that its use does not disclose or use Confidential Information.

               d.      Deletion of Documents filed under Seal. Filings under seal shall be

deleted or otherwise removed from the Court docket only upon order of the Court.

       16.     Order Subject to Modification. This Order shall be subject to modification by

the Court on its own initiative or on motion of a party or any other person with standing

concerning the subject matter.

       17.     No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

                                                - 10 -
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
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                                   1-1Filed:
                                       Filed:01/16/18
                                              02/25/19Page
                                                       Page11
                                                            71ofof13
                                                                   98PageID
                                                                      PageID#:352
                                                                             #:78




under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

       18.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

       19.      Clawback of Protected Materials Under Federal Rule of Evidence 502(d).

The production or disclosure of information subject to the attorney-client privilege, attorney-

work product protection, or other similar protection from discovery (“Protected Material”) does

not operate as a waiver of the privilege or protection by the producing party, in this or any other

state or federal proceeding, regardless of the circumstances of disclosure. If any party becomes

aware of the production or disclosure of Protected Material, that party shall provide written

notice to the other parties of such production or disclosure within 14 days of the discovery of the

production or disclosure. The party that produced Protected Material has 14 days from the date

of service of the notification in which to request that the other parties return the material. If the

parties agree that the material subject to such a clawback request is Protected Material, the

receiving parties must return to the producing party the original and all copies of the Protected

Material within 14 days of the request. In the event that the parties do not agree on the return of

the material subject to the clawback request, any party may bring a motion to the Court for the

adjudication of the dispute, and if the material is found by the Court to be subject to the privilege

or other protection from discovery, the original and all copies of the material must be returned to

the party that produced it.




                                               - 11 -
  Case: 1:17-cv-07303
  Case: 1:19-cv-01374 Document
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                                             02/25/19Page
                                                      Page12
                                                           72ofof13
                                                                  98PageID
                                                                     PageID#:353
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     SO ORDERED.

Dated: January 16, 2018                   _____________________________________
                                          ANDREA R. WOOD
                                          UNITED STATES DISTRICT JUDGE




                                      - 12 -
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     Case: 1:19-cv-01374 Document
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                                                02/25/19Page
                                                         Page13
                                                              73ofof13
                                                                     98PageID
                                                                        PageID#:354
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

CHRISTOPHER HOWE, individually and on behalf
of all others similarly situated,

                     Plaintiff,

v.                                                                No. 17-cv-07303

SPEEDWAY LLC and MARATHON PETROLEUM                               Judge Andrea R. Wood
COMPANY,

                     Defendants.

                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

        The undersigned hereby acknowledges that he/she has read the Agreed Confidentiality Order dated

________________, 20___ in the above-captioned action and attached hereto, understands the terms thereof,

and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the United States District

Court for the Northern District of Illinois in matters relating to the Agreed Confidentiality Order and

understands that the terms of the Agreed Confidentiality Order obligate him/her to use materials designated as

Confidential Information in accordance with the terms thereof solely for the purposes of the above-captioned

action, and not to disclose any such Confidential Information to any other person, firm or concern.

        The undersigned acknowledges that violation of the Agreed Confidentiality Order may result in

penalties for contempt of court.

Name: _________________________________

Job Title: _______________________________

Employer: ______________________________

Business Address: ________________________
________________________________________
________________________________________

Date: _______________                                 _____________________________________
                                                      Signature


                                                Attachment A
 Case:
  Case:1:19-cv-01374
        1:17-cv-07303Document
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                                             01/24/18 Page
                                                      Page 74
                                                           1 ofof198 PageID
                                                                   PageID   #:81
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 24, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Joint Motion to set a
briefing schedule [52] is granted. Plaintiff's response to motion to remand [50] shall be
files by 2/14/2018 and Defendants' reply shall be filed by 2/28/2018. The motion
presentment date of 1/25/2018 is stricken. Parties need not appear. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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        1:17-cv-07303Document
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                                                      Page 75
                                                           1 ofof198 PageID
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 12, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Defendants' Motion for
leave to file surreply [58] is granted. The motion presentment date of 3/13/2018 is
stricken. Parties need not appear. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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        1:17-cv-07303Document
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                                                      Page 76
                                                           1 ofof198 PageID
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 26, 2018:


       MINUTE entry before the Honorable Andrea R. Wood: Status hearing set for
3/27/2018 is stricken and reset for 4/25/2018 at 09:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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        1:17-cv-07303Document
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                                             04/18/18 Page
                                                      Page 77
                                                           1 ofof198 PageID
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, April 18, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Motion hearing held. The
Court sets the following briefing schedule on Defendants' motion to stay [70]: Plaintiff
shall respond by 4/24/2018 and Defendants shall reply by 5/1/2018. Status hearing set for
4/25/2018 [69] is stricken and reset for 5/11/2018 at 9:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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  Case:1:19-cv-01374
        1:17-cv-07303Document
                      Document#:#:1-1
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                                                      Page 78
                                                           1 ofof198 PageID
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 10, 2018:


       MINUTE entry before the Honorable Andrea R. Wood: Status hearing set for
5/11/2018 is stricken and reset for 5/31/2018 at 09:00 AM. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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        1:17-cv-07303Document
                      Document#:#:1-1
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                                             05/22/18 Page
                                                      Page 79
                                                           1 ofof198 PageID
                                                                   PageID   #:86
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Christopher Howe
                                Plaintiff,
v.                                                    Case No.: 1:17−cv−07303
                                                      Honorable Andrea R. Wood
Speedway LLC, et al.
                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 22, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: Defendants' Motion for
leave to file a Response to Plaintiff's Second Notice of Supplemental Authority [79] is
taken under advisement. The motion presentment date of 5/23/2018 is stricken; parties
need not appear. Status hearing set for 5/31/2018 [77] remains firm. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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 Case:
  Case:1:19-cv-01374
        1:17-cv-07303Document
                      Document#:#:1-1
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                                             05/31/18 Page
                                                      Page 80
                                                           1 ofof198 PageID
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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Christopher Howe
                                 Plaintiff,
v.                                                     Case No.: 1:17−cv−07303
                                                       Honorable Andrea R. Wood
Speedway LLC, et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 31, 2018:


         MINUTE entry before the Honorable Andrea R. Wood: For the reasons stated in
the accompanying Memorandum Opinion and Order, Plaintiff's motion to remand [50] is
granted. The Clerk is directed to remand this case to the Circuit Court of Cook County,
Illinois. Defendants' motion for leave to file a response to Plaintiff's second notice of
supplemental authority [79] is granted; the Court considered the supplemental authority
and response in ruling upon the motion to remand. Defendants' motion to dismiss [25] and
motion to stay discovery [70], as well as Plaintiff's motion for leave to file a surreply [44],
are all denied as moot. All other pending motions and hearing dates are stricken. Civil
case terminated. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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refer to it for additional information.
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web site at www.ilnd.uscourts.gov.
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    Case: 1:19-cv-01374
          1:17-cv-07303 Document
                        Document #:
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                                    83 Filed:  02/25/19 Page
                                                        Page 181ofof1498PageID
                                                                         PageID#:568
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CHRISTOPHER HOWE, individually,                     )
and on behalf of all others similarly               )
situated,                                           )
                                                    )
                Plaintiff,                          )
                                                    )           No. 17-cv-07303
        v.                                          )
                                                    )           Judge Andrea R. Wood
SPEEDWAY LLC, et al.,                               )
                                                    )
                Defendants.                         )

                             MEMORANDUM OPINION AND ORDER

        At the beginning of his employment at a Speedway gas station, Plaintiff Christopher Howe

was required to scan his fingerprint, which his employer used to authenticate his identity and track

his time. Howe initially brought this putative class action in Illinois state court against Defendants

Speedway LLC (“Speedway”) and Marathon Petroleum Co. (“Marathon”),1 arguing that

Defendants collected and stored his and similarly-situated individuals’ fingerprints in violation of

Illinois’s Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1, et seq. Defendants then

removed the lawsuit to federal court (Dkt. No. 1), and shortly thereafter filed a motion to dismiss

(Dkt. No. 25). In response, Howe moved to remand the action back to state court, claiming that

Defendants’ motion to dismiss demonstrated that Howe did not have Article III standing to bring

this action in federal court. (Dkt. No. 50.) For the reasons that follow, Howe’s motion to remand

is granted and Defendants’ motion to dismiss is denied as moot.




1
 In his Complaint, Howe also named Kronos, Inc. (“Kronos”) as a Defendant, but Howe has since
voluntarily dismissed Kronos from this action pursuant to Federal Rule of Civil Procedure 41(a). (Dkt. No.
15.)
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 05/31/18
                                   83 Filed:  02/25/19 Page
                                                       Page 282ofof1498PageID
                                                                        PageID#:569
                                                                                #:89




                                          BACKGROUND

       Howe is an Illinois resident who worked at a Speedway gas station in Addison, Illinois

from September 2015 to May 2017. (Compl. ¶¶ 10, 36, Dkt. No. 1-1.) Speedway required its

employees to scan their fingerprints, which were stored in a database operated by its vendor,

Kronos. (Id. ¶¶ 2, 6, 38.) It used the employees’ fingerprints to authenticate their identities and to

track their time. (Id. ¶ 37.) Specifically, at the beginning of each work day, an employee would

clock in by scanning his fingerprint and then scan his fingerprint again at the end of the day to

clock out. (Id. ¶¶ 2–3, 29, 39.) Howe’s fingerprint data was used for this purpose during his

employment at Speedway. (Id. ¶ 39.)

       According to Howe, Speedway collected, stored, and used his fingerprints in violation of

BIPA. Illinois passed BIPA in 2008 in order to provide certain protections for the biometric

identifiers—such as fingerprints—and biometric information of Illinois citizens. (Id. ¶¶ 18, 21.)

The statute includes provisions requiring any private entity to make two disclosures and receive a

written release before collecting a person’s biometric identifier or information. (Id. ¶ 19; 740

ILCS 14/15(b).) In particular, the entity must disclose in writing to the person whose biometric

data is being collected “that a biometric identifier or biometric information is being collected or

stored.” (Compl. ¶ 19; 740 ILCS 14/15(b)(1).) Then, the person must be informed “in writing of

the specific purpose and length of term for which a biometric identifier or biometric information

is being collected, stored, and used.” (Compl. ¶ 19; 740 ILCS 14/15(b)(2).) Furthermore, a private

entity that is in possession of biometric data

       must develop a written policy, made available to the public, establishing a
       retention schedule and guidelines for permanently destroying biometric identifiers
       and biometric information when the initial purpose for collecting or obtaining such
       identifiers or information has been satisfied or within 3 years of the individual’s
       last interaction with the private entity, whichever occurs first. Absent a valid
       warrant or subpoena issued by a court of competent jurisdiction, a private entity in




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   Case: 1:19-cv-01374
         1:17-cv-07303 Document
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                                   83 Filed:  02/25/19 Page
                                                       Page 383ofof1498PageID
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       possession of biometric identifiers or biometric information must comply with its
       established retention schedule and destruction guidelines.

(Compl. ¶ 23; 740 ILCS 14/15(a).)

       Howe filed the present class action against Speedway and Marathon (of which Speedway

is a wholly-owned subsidiary) seeking statutory damages under BIPA on behalf of himself and a

class of similarly-situated individuals, as well as an injunction forcing Defendants to comply with

BIPA. (Compl. ¶¶ 61–76.) In addition, Howe seeks damages for Defendants’ negligence. (Id.

¶¶ 77–84.) In his complaint, Howe alleges that Speedway violated BIPA because it never

provided any disclosures nor did it obtain his written release before scanning and storing his

fingerprints. (Id. ¶¶ 40, 42.) He further alleges a violation stemming from Speedway’s failure to

create and make publicly available its retention and destruction policy for biometric data. (Id.

¶ 41.) As a result of Speedway’s BIPA violations and negligence, Howe claims to have been

injured in three respects. His first claimed injury is the invasion of his right to privacy caused by

Speedway’s collection and storage of his biometric data without proper disclosures or

authorization. (Id. ¶ 44.) Howe also alleges an informational injury on account of Speedway’s

failure to provide him information to which he was entitled to under BIPA. (Id. ¶ 45.) Finally, he

claims to have suffered mental anguish and injury from contemplating the possibility that his

biometric data might be compromised. (Id. ¶ 47.)

       This class action was originally filed in the Circuit Court of Cook County, Illinois,

however Defendants removed the action to this Court, claiming jurisdiction on the basis of the

Class Action Fairness Act (“CAFA”), 28 U.S.C. §§ 1332(d), 1453. (Notice of Removal at 1.)

Following removal, Defendants moved to dismiss Howe’s action under Federal Rule of Civil

Procedure 12(b)(6). In response, Howe moved to remand the case back to state court asserting that

Defendants’ Rule 12(b)(6) argument raises doubt as to Howe’s standing to proceed before a




                                                  3
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 05/31/18
                                   83 Filed:  02/25/19 Page
                                                       Page 484ofof1498PageID
                                                                        PageID#:571
                                                                                #:91




federal district court. His motion to remand also seeks attorneys’ fees and costs incurred as a

result of the improper removal, pursuant to 28 U.S.C. § 1447(c).

                                            DISCUSSION

       I.      Motion to Remand

       Any action that could have been originally filed in federal court is properly removable. 28

U.S.C. § 1441. To remove a case to federal court, a defendant need only file a notice of removal

“containing a short and plain statement of the grounds for removal.” 28 U.S.C. § 1446. Pursuant

to CAFA, a federal court has subject-matter jurisdiction over class actions where the class has

more than 100 members, the parties are minimally diverse, and the amount in controversy exceeds

$5 million. Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 551–52 (2014).

Defendants’ notice of removal establishes that the action was removable under CAFA, and Howe

does not dispute that.

       Yet having removed the action to federal court, Defendants proceeded to file a motion to

dismiss that, while styled as a Rule 12(b)(6) motion, appears to cast doubt on Howe’s Article III

standing. Defendants’ motion to dismiss argues that Howe has failed to state a claim under BIPA

because the statute’s cause of action is only available to a “person aggrieved by a violation” of the

statute. (Mem. in Support of Mot. to Dismiss at 3, Dkt. No. 26.) Defendants contend that to be a

“person aggrieved,” a plaintiff must have been injured by a BIPA violation. (Id. at 4–10.) Howe is

not “aggrieved,” according to Defendants, because he alleges only technical violations of the

statute but “alleges no facts to indicate he was injured” by those violations (Id. at 3.) While

Defendants’ motion to dismiss is carefully cabined to issues regarding Howe’s ability to state a

claim, Howe asserts that their arguments nonetheless implicate Article III standing and thus the

Court’s ability to hear the case at all. Its jurisdiction having been called into question, the Court




                                                  4
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 05/31/18
                                   83 Filed:  02/25/19 Page
                                                       Page 585ofof1498PageID
                                                                        PageID#:572
                                                                                #:92




must resolve whether Howe has constitutional standing before it can address whether Howe failed

to state a claim upon which relief may be granted. See Freedom From Religion Found., Inc. v.

Zielke, 845 F.2d 1463, 1467 (7th Cir. 1988) (“Standing is a threshold question in every federal

case because if the litigants do not have standing to raise their claims the court is without

authority to consider the merits of the action.”).

        Standing is an essential component of Article III’s limitation of federal courts’ judicial

power only to cases or controversies. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

“The doctrine limits the category of litigants empowered to maintain a lawsuit in federal court to

seek redress for a legal wrong.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). There are

three elements that constitute the “irreducible constitutional minimum” of standing. Lujan, 504

U.S. at 560. A “plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, 136 S. Ct. at 1547 (internal quotation marks omitted). Where a plaintiff does

not have Article III standing, a federal district court lacks subject-matter jurisdiction to hear his or

her claims. Simic v. City of Chicago, 851 F.3d 734, 738 (7th Cir. 2017).

        By contrast, a plaintiff may have constitutional standing yet nonetheless lack statutory

standing. Statutory standing asks “whether the statute grants the plaintiff the cause of action that

he asserts.” Bank of Am. Corp. v. City of Miami, Fla., 137 S. Ct. 1296, 1302 (2017); Lexmark

Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct. 1377, 1387 & n.4 (2014). A plaintiff has

statutory standing only when his or her interests “fall within the zone of interests protected by the

law invoked.” Lexmark, 134 S. Ct. at 1388 (internal quotation marks omitted). The zone of

interests test, in turn, requires the court “to determine, using traditional tools of statutory

interpretation, whether a legislatively conferred cause of action encompasses a particular




                                                     5
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 05/31/18
                                   83 Filed:  02/25/19 Page
                                                       Page 686ofof1498PageID
                                                                        PageID#:573
                                                                                #:93




plaintiff’s claim.” Bank of Am., 137 S. Ct. at 1302–03. Despite its name, statutory standing does

not implicate a court’s subject-matter jurisdiction but is better understood as a Rule 12(b)(6) issue.

Lexmark, 134 S. Ct. at 1387 n.4; In re Fluidmaster, Inc., 149 F. Supp. 3d 940, 951 (N.D. Ill.

2016).

         On its face, Defendants’ motion to dismiss is directed only to Howe’s statutory standing

under BIPA—namely, whether Howe is a “person aggrieved” who can maintain an action. Their

argument implicitly concedes (at least for purposes of this stage in the proceedings) that they did

not follow BIPA’s disclosure and authorization requirements, but goes on to contend that because

those violations did not injure Howe, BIPA does not supply him with a cause of action. Yet

Defendants’ argument about Howe’s lack of injury raises the issue of whether he has alleged an

injury-in-fact for purposes of Article III standing. Indeed, the motion to dismiss is predicated on

Defendants’ contention that Howe has “allege[d] no facts to indicate that he was injured,” (Mem.

in Support of Mot. to Dismiss at 3) and contests the sufficiency of the injuries Howe does allege

in the Complaint (id. at 10–13). Moreover, many of the cases upon which Defendants rely in

support of their claim that Howe is not a “person aggrieved” are in fact cases in which courts

dismissed complaints for want of constitutional standing. See, e.g., Vigil v. Take-Two Interactive

Software, Inc., 235 F. Supp. 3d 499 (S.D.N.Y. 2017), aff’d in part and vacated in part, Santana v.

Take-Two Interactive Software, Inc., 717 F. App’x 12 (2d Cir. Nov. 21, 2017); McCullough v.

Smarte Carte, Inc., No. 16 C 03777, 2016 WL 4077108 (N.D. Ill. Aug. 1, 2016).

         Procedurally, Howe finds himself in an awkward position. To succeed in his lawsuit, he

must establish that he is a “person aggrieved” who has statutory standing to assert a cause of

action under BIPA. However, if he has a cognizable injury under BIPA, then it follows that he

also has constitutional standing and must proceed in a disfavored forum. Therefore, in an effort to




                                                 6
    Case:
    Case: 1:19-cv-01374
          1:17-cv-07303 Document
                        Document #:
                                 #: 1-1 Filed: 05/31/18
                                    83 Filed:  02/25/19 Page
                                                        Page 787ofof1498PageID
                                                                         PageID#:574
                                                                                 #:94




achieve remand without fatally undermining his claims, Howe declines to take a position on

constitutional standing and argues that it is Defendants’ burden to establish such standing. Howe

is correct. As the Seventh Circuit recently held, where a party invokes federal jurisdiction by

removing a suit from state court, that party must “establish that all elements of jurisdiction—

including Article III standing—existed at the time of removal. Collier v. SP Plus Corp., No. 17-

2431, 2018 WL 2186786, at *2 (7th Cir. May 14, 2018) (per curiam).2

        To avoid remand, Defendants find themselves having to establish that Howe has suffered a

sufficient injury for purposes of Article III standing even as their motion to dismiss vigorously

contests the adequacy of his injury for purposes of statutory standing. Yet it is possible for

Defendants to thread this needle. Constitutional standing and statutory standing are distinct

inquiries. See Lexmark, 134 S. Ct. at 1386. And a plaintiff may well have Article III standing to

maintain an action, but nonetheless lack statutory standing because the statute under which he or

she is suing does not supply a cause of action to individuals in the plaintiff’s position. See

Thompson v. N. Am. Stainless, LP, 562 U.S. 170, 178 (2011).

        Here, the constitutional standing dispute centers solely on whether Defendants’ failure to

provide certain disclosures and obtain Howe’s authorization before collecting his fingerprints

satisfies the injury-in-fact element of the standing inquiry. An injury-in-fact is established by

showing that a plaintiff “suffered ‘an invasion of a legally protected interest’ that is ‘concrete and

particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo, 136 S. Ct. at

1548 (quoting Lujan, 504 U.S. at 560). An injury is particularized when it affects “the plaintiff in


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  Collier was decided after the parties had submitted their briefs. But it was submitted by Howe in the form
of a notice of supplemental authority (Dkt. No. 78), and Defendants then sought leave to file a response to
the notice of supplemental authority (Dkt. No. 79). That motion is now granted. The Court agrees with
Defendants that Collier does not change the proper analysis of the motion to remand, as Defendants set
forth a colorable argument concerning the existence of Article III standing here. Nonetheless, for reasons
explained below, the Court finds that Howe does not have Article III standing here.



                                                    7
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 05/31/18
                                   83 Filed:  02/25/19 Page
                                                       Page 888ofof1498PageID
                                                                        PageID#:575
                                                                                #:95




a personal and individual way.” Id. A concrete injury is one that actually exists. Id. However, the

concreteness requirement does not mean that the injury must actually be tangible. Id. at 1549.

Intangible injuries can be concrete. Id. Indeed, a legislature can identify intangible harms and

elevate them to the status of legally cognizable injuries. See id. Still, a plaintiff does not

automatically possess an injury-in-fact just because “a statute grants a person a statutory right and

purports to authorize that person to sue to vindicate that right.” Id. Rather, “Article III standing

requires a concrete injury even in the context of a statutory violation.” Id. What does not suffice is

“a bare procedural violation, divorced from any concrete harm.” Id. Since Spokeo, the Seventh

Circuit has elaborated that for a statutory violation to constitute an injury-in-fact, it must present

an “appreciable risk of harm to the underlying concrete interest that Congress [or the state

legislature] sought to protect by enacting the statute.” Groshek v. Time Warner Cable, Inc., 865

F.3d 884, 887 (7th Cir. 2017) (internal quotation marks omitted).

        In his complaint, Howe alleges three injuries: mental anguish, invasion of privacy, and an

informational injury. Two of those injuries clearly do not suffice. Howe alleges that he suffers

mental anguish over his uncertainty regarding what Speedway will do with his biometric data.

However, he makes no allegations that this data was compromised or is likely to be compromised.

This type of mental anguish injury is precisely the type of conjectural or hypothetical injury that

cannot support Article III standing. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013)

(“[R]espondents cannot manufacture standing merely by inflicting harm on themselves based on

their fears of hypothetical future harm that is not certainly impending.”); Whitmore v. Arkansas,

495 U.S. 149, 158 (“Allegations of possible future injury do not satisfy the requirements of Art.

III.”). Howe’s invasion of privacy injury also cannot support standing because the complaint gives

no indication that Speedway “has released, or allowed anyone to disseminate, any of the




                                                   8
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 05/31/18
                                   83 Filed:  02/25/19 Page
                                                       Page 989ofof1498PageID
                                                                        PageID#:576
                                                                                #:96




plaintiff’s personal information in the company’s possession.” Gubala v. Time Warner Cable,

Inc., 846 F.3d 909, 912 (7th Cir. 2017).

       That leaves Howe’s informational injury as the only possible injury-in-fact. An

informational injury is one where a “plaintiff fails to obtain information which must be publicly

disclosed pursuant to a statute.” FEC v. Akins, 524 U.S. 11, 21 (1998). However, for an

informational injury to support standing, “the injury must be ‘precisely the form the statute was

intended to guard against.’” Groshek, 865 F.3d at 888 n.3 (quoting Havens Realty Corp. v.

Coleman, 455 U.S. 363, 373 (1982)).

       Howe’s informational injury was caused by Defendants’ failure to provide him with the

required disclosures before collecting his fingerprints, as well as its failure to make publicly

available a biometric data retention and destruction policy. For this informational injury to confer

standing, it must present a risk of harm to the concrete interest that Illinois sought to protect in

enacting BIPA. The statute contains several legislative findings reflecting on the harm it was

enacted to prevent. Among other things, it notes that “[b]iometrics . . . are biologically unique to

the individual; therefore, once compromised, the individual has no recourse, is at heightened risk

for identity theft, and is likely to withdraw from biometric-facilitated transactions.” 740 ILCS

14/5(c). The findings further state that “[t]he public welfare, security, and safety will be served by

regulating the collection, use, safeguarding, handling, storage, retention, and destruction of

biometric identifiers and information.” Id. 14/5(g). The substantive provisions of the statute

include provisions prohibiting private entities from selling or otherwise disseminating a person’s

biometric data without authorization. Id. 14/15(c), (d). In addition, it requires private entities in

possession of biometric data to store and protect that data using reasonable care. Id. 14/15(e).

Taken together, these provisions illustrate that the concrete interest underlying BIPA is the




                                                   9
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 83
                                   1-1Filed:
                                       Filed:05/31/18
                                              02/25/19Page
                                                       Page10
                                                            90ofof14
                                                                   98PageID
                                                                      PageID#:577
                                                                             #:97




protection and security of biometric data. See Vigil, 235 F. Supp. 3d at 510 (“[T]he core object of

the BIPA is data protection to curb potential misuse of biometric information collected by private

entities.”).

        The question here then is whether Defendants’ alleged disclosure failures constitute a

concrete harm to this interest in data protection. Put another way: Is the injury that Howe suffered

as a result of his failure to receive disclosures the type of injury the statute seeks to guard against?

Absent any additional harm caused by the failure to provide the required disclosures, that question

must be answered in the negative. BIPA’s disclosure requirements serve the statute’s data

protection goals, but they do not create a standalone concrete interest in obtaining that

information. Id. at 513 (“Unlike statutes where the provision of information about statutory rights

. . . is an end itself, the BIPA’s notice and consent provisions do not create a separate interest in

the right-to-information, but instead operate in support of the data protection goal of the statute.”).

For example, while a private entity is required to make its retention schedule and destruction

guidelines publicly available, the public availability requirement is ancillary to the provision’s

primary purpose—protecting the biometric data by mandating the private entity’s compliance

with that policy. See 740 ILCS 14/15(a).

        It is true that some courts have framed BIPA’s data protection interest as a data privacy

interest and found that a private entity’s collection of biometric data without proper disclosure and

authorization confers standing. E.g., Patel v. Facebook Inc., No. 3:15-cv-03747-JD, 2018 WL

1050154 (N.D. Cal. Feb. 26, 2018); see also Vigil, 235 F. Supp. 3d at 510 (noting that data

privacy is an alternative way of formulating BIPA’s data protection interest). However, those

cases involved the non-consensual collection of biometric information. For example, the Patel

plaintiffs were Facebook users who uploaded photographs of themselves to the social network.




                                                  10
    Case: 1:17-cv-07303
    Case: 1:19-cv-01374 Document
                        Document #:
                                 #: 83
                                    1-1Filed:
                                        Filed:05/31/18
                                               02/25/19Page
                                                        Page11
                                                             91ofof14
                                                                    98PageID
                                                                       PageID#:578
                                                                              #:98




Unbeknownst to them, Facebook extracted biometric identifiers from its users’ photographs in

order to create and store digital representations of their faces that would then be used to identify

those users’ faces in other pictures and generate “Tag Suggestions.”3 Id. at *1. Similarly, in

Monroy v. Shutterfly, Inc., No. 16 C 10984, 2017 WL 4099846, at *1 (N.D. Ill. Sept. 15, 2017), a

photo-sharing website used facial recognition technology to scan images uploaded by users and

“extract a highly detailed ‘map’ or ‘template’ for each face,” which was then stored and used to

suggest a “tag” for new photos with faces matching that map. The face mapping was performed

non-consensually on any individual appearing in a photo uploaded to the website, no matter

whether the individual was a user or non-user of the platform. See id. Several other cases

proceeding in federal court also involved non-consensual collection of biometric data. See, e.g.,

Rivera v. Google, Inc., 238 F. Supp. 3d 1088, 1090–91 (N.D. Ill. 2017); Norberg v. Shutterfly,

Inc., 152 F. Supp. 3d 1103, 1106 (N.D. Ill. 2015).4 The failure to provide disclosures and obtain

written authorization in these cases rose to the level of an injury-in-fact because it resulted in the

collection and storage of the plaintiffs’ biometric data without their knowledge or consent.

        By contrast, Howe’s fingerprints were collected in circumstances under which any

reasonable person should have known that his biometric data was being collected. At the

beginning of his employment at Speedway, Howe voluntarily submitted to a fingerprint scan. He

then scanned his fingerprint at the beginning and end of each work day, thereby allowing

Defendants’ system to identify him and track his hours. It should have been readily apparent to




3
 A Facebook “tag” is a way Facebook users identify their friends in photographs they upload to their
profiles. Patel, 2018 WL 1051054, at *1.
4
 These cases involved Rule 12(b)(6) motions, and the courts’ subject-matter jurisdiction was never
squarely raised. Nonetheless, the fact that the courts ruled on the Rule 12(b)(6) motions implies that they
were satisfied that they had subject-matter jurisdiction.



                                                    11
   Case: 1:17-cv-07303
   Case: 1:19-cv-01374 Document
                       Document #:
                                #: 83
                                   1-1Filed:
                                       Filed:05/31/18
                                              02/25/19Page
                                                       Page12
                                                            92ofof14
                                                                   98PageID
                                                                      PageID#:579
                                                                             #:99




Howe that his fingerprint was being scanned and stored, otherwise how would Speedway’s time

system recognize him based on that fingerprint?

       The facts in this case are analogous to those in the cases finding no injury-in-fact from a

private entity’s failure to provide disclosures. In McCullough v. Smarte Carte, Inc., 2016 WL

4077108, the plaintiff had to scan her fingerprint before renting a locker. When she returned to the

locker she unlocked it by again scanning her fingerprint. The court observed that the plaintiff

“undoubtedly understood when she first used the system that her fingerprint data would have to be

retained until she retrieved her belongings from the locker.” Id. at *3. The court then held that,

while the defendant’s failure to obtain advance consent and make the required disclosures was a

technical violation of BIPA, there was no injury-in-fact because the plaintiff did not allege that

her biometric information was disclosed or at risk of disclosure. Id. In Vigil v. Take-Two

Interactive Software, Inc., 235 F. Supp. 3d 499, a basketball videogame allowed players to create

a digital player in their likeness by holding their face to a camera and allowing the game to scan

their faces and map it onto an avatar. Id. at 505. While the videogame developer did provide

limited disclosures before collecting the biometric data, the plaintiffs argued that the disclosures

were deficient. Finding that these procedural violations did not implicate BIPA’s data protection

interest, the court observed that “the plaintiffs, at the very least, understood that [the videogame

developer] had to collect data based upon their faces in order to create the personalized basketball

avatars, and that a derivative of the data would be stored in the resulting digital faces of those

avatars so long as those avatars existed.” Id. at 515.

       In both McCullough and Vigil, as here, proper compliance with BIPA’s disclosure and

written authorization requirements would only have made explicit what should have already been

obvious. Patel, 2018 WL 1050154, at *5 (“In [McCullough and Vigil], the plaintiffs had sufficient




                                                 12
   Case:
   Case: 1:19-cv-01374
         1:17-cv-07303 Document
                       Document #:
                                #: 1-1 Filed: 05/31/18
                                   83 Filed:  02/25/19 Page
                                                       Page 13
                                                            93 of
                                                               of 14
                                                                  98 PageID
                                                                     PageID #:580
                                                                            #:100




notice to make a meaningful decision about whether to permit the data collection.”). Moreover,

the procedural violations in all three instances were not connected to any harm to the security or

privacy of the plaintiffs’ biometric data, and therefore could not be considered an injury-in-fact

for purposes of standing. Even the BIPA cases finding standing are in accord. See id. (finding that

the factual differences in McCullough and Vigil made those cases “of little value in addressing the

allegations . . . that Facebook afforded plaintiffs no notice and no opportunity to say no”);

Monroy, 2017 WL 4099846, at *8 n.5 (“The harm alleged in [McCullough and Vigil] was the

defendants’ failure to provide them with certain disclosures . . . . [the plaintiff in this action], by

contrast, alleges that he had no idea that [the defendant] had obtained his biometric data in the

first place.”).

        Comparing McCullough and Vigil with Patel and Monroy elucidates the purpose of

BIPA’s disclosure requirements: the disclosure requirements support BIPA’s data protection

interest by preventing individuals from unwittingly sharing their biometric identifiers and

information. Thus, a person uploading a photo to Facebook should be provided fair notice that by

doing so their faces will be mapped and stored; otherwise, the person might not be aware of the

biometric data collection. On the other hand, where individuals are obviously sharing biometric

data—whether holding their fingerprint to a scanner or their face to a camera—the procedural

violation from disclosure omissions causes negligible harm for Article III purposes. Because

Howe’s allegations fit with the latter scenario, he has not suffered an injury-in-fact.

        Defendants undoubtedly violated BIPA if they failed to provide Howe disclosures and

obtain his written authorization prior to collecting and storing his fingerprints and did not create

or make publicly available a biometric data retention and destruction policy. However, those




                                                   13
    Case:
    Case: 1:19-cv-01374
          1:17-cv-07303 Document
                        Document #:
                                 #: 1-1 Filed: 05/31/18
                                    83 Filed:  02/25/19 Page
                                                        Page 14
                                                             94 of
                                                                of 14
                                                                   98 PageID
                                                                      PageID #:581
                                                                             #:101




procedural violations did not cause him an injury-in-fact.5 Consequently, Howe does not have

standing to have his claim heard in federal court and the action must be remanded to state court.

        II.     Attorneys’ Fees and Costs

        Having found that the action must be remanded, Howe may be eligible for attorneys’ fees

and costs. Under 28 U.S.C. § 1447(c), “[a]n order remanding the case may require payment of just

costs and any actual expenses, including attorney fees, incurred as a result of the removal.”

However, attorneys’ fees are generally only available under if “the removing party lacked an

objectively reasonable basis for seeking removal.” Martin v. Franklin Capital Corp., 546 U.S.

132, 141 (2005). Here, because Defendants’ made a colorable, if not winning, argument for

constitutional standing in their Opposition to Remand, the Court declines to award Howe

attorneys’ fees and costs incurred as a result of the removal of this action.


                                             CONCLUSION

        For the foregoing reasons, Plaintiff’s motion to remand (Dkt. No. 50) is granted.

Furthermore, because the Court cannot rule on the merits of a claim that it lacks subject-matter

jurisdiction to hear, Defendants’ motion to dismiss (Dkt. No. 25) is denied as moot. This action is

remanded to the Circuit Court of Cook County, Illinois.

                                                          ENTERED:



Dated: May 31, 2018                                       __________________________
                                                          Andrea R. Wood
                                                          United States District Judge



5
 The Court expresses no opinion as to whether Howe qualifies as a “person aggrieved” by a violation of
BIPA within the meaning of that statute or on any other merits issue that may be litigated in state court.
Indeed, the Court has no power to address the merits given its lack of subject-matter jurisdiction. See
Freedom From Religion Foundation, 845 F.2d at 1467.



                                                    14
Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 95 of 98 PageID #:102
             Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 96 of 98 PageID #:103
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                                           IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS




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             Case: 1:19-cv-01374 Document #: 1-1 Filed: 02/25/19 Page 97 of 98 PageID #:104




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                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                    COUNTY DEPARTMENT, CHANCERY DIVISION

CHRISTOPHER HOWE,                                       )
individually and on behalf of all others                )
similarly situated,                                     )
                                                        )
                 Plaintiff,                             ) No. 20 17 CH 11992
                                                        )
           v.                                           ) Hon. Neil H. Cohen
                                                        )
SPEEDWAY LLC and                                        )
MARATHON PETROLEUM COMPANY,                             )
.'                                                      )
                                                        )
                 Defendants.                            )

                                       AGREED ORDER

          THIS CAUSE COMING TO BE HEARD on the parties' request for a continuance of the

February 13, 20 19 status hearing, due notice having been given, the Court being advised in the

premises, and by agreement of the parties, IT IS HEREBY ORDERED THAT:

          1.    The February 13,2019 status hearing is stricken;

          2.    Defendants to answer or otherwise plead by April 1, 2019; AND

          2.    this matter is rescheduled for a status bearing on March 15, 2019 at 9:30a.m.

                                               SO ORDERED:




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